Case 6:23-bk-15163-WJ Doc 48 Filed 02/27/24 Entered 02/27/24 12:31:05 Desc
Main Document Page 1 of 39

Attorney or Party Name, Address, Telephone & FAX FOR COURT USE ONLY
Nos., State Bar No. & Email Address

A. CISNEROS, Trustee
3403 Tenth Street, Suite 714
Riverside, California 92501
Phone: (951) 682-9705

Fax: (951) 252-1032

Email: arturo@mclaw.org

Chapter 7 Trustee

Movant(s) appearing without an attorney
[| Attorney for Movani(s)

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION

CASE NO.; 6:23-15163-WJ
CHAPTER: 7

In re:

SHAMICKA LAWRENCE,

DECLARATION THAT NO PARTY
REQUESTED A HEARING ON MOTION

LBR 9013-1(0)(3)

[No Hearing Required]

Debtor(s).

1. lam the I] Movant(s) or [[] attorney for Movant(s) or [_] employed by attorney for Movant(s).

2. On (date): 01/30/2024 _ Movant(s) filed a motion or application (Motion) entitled: Trustee's Application to

Employ Real Estate Broker; Declaration of Brian Thompson in Support Thereof

3. Acopy of the Motion and notice of motion is attached to this declaration.

4. On (date): 01/30/2024 _ Movant(s), served a copy of [_] the notice of motion or [X] the Motion and notice of motion
on required parties using the method(s) identified on the Proof of Service of the notice of motion.

5. Pursuant to LBR 9013-1(0), the notice of motion provides that the deadline to file and serve a written response and
request for a hearing is 14 days after the date of service of the notice of motion, plus 3 additional days if served by

mail, or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).
6. More than 17__ days have passed after Movant(s) served the notice of motion.

7. | checked the docket for this bankruptcy case and/or adversary proceeding, and no response and request for hearing
was timely filed.

8. No response and request for hearing was timely served on Movant(s) via Notice of Electronic Filing, or at the street
address, email address, or facsimile number specified in the notice of motion.

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016 Page 1 F 9013-1.2.NO.REQUEST.HEARING.DEC
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Main Document Page 2 of 39

9. Based on the foregoing, and pursuant to LBR 9013-1(0), a hearing is not required.
Movant(s) requests that the court grant the motion and enter an order without a hearing.

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Date:

Signature

A. Cisneros, Chapter 7 Trustee
Printed name

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016 Page 2 F 9013-1.2.NO.REQUEST.HEARING.DEC

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A. CISNEROS, Trustee
3403 10th Street, Suite 714
Riverside, California 92501
Phone: (951) 682-9705
Fax: (949) 252-1032
Email: arturo@mclaw.org

Chapter 7 Trustee

AGE t OF 2B

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re:

SHAMICKA LAWRENCE,

Debtor.

RIVERSIDE DIVISION

Case No. 6:23-bk-15163-WJ

Chapter 7

TRUSTEE’S APPLICATION TO EMPLOY
REAL ESTATE BROKER; DECLARATION
OF BRIAN THOMPSON IN SUPPORT

THEREOF
[11364 Estates Court, Riverside, CA 92503]

[No Hearing Required Pursuant to Local Bankruptcy
Rules 2014-1 (b)(1)]

TO THE HONORABLE WAYNE JOHNSON, UNITED STATES BANKRUPTCY JUDGE; THE
OFFICE OF THE UNITED STATES TRUSTEE, DEBTOR, DEBTOR’S COUNSEL, AND

OTHER INTERESTED PARTIES:

The Application of the Chapter 7 Trustee, A. Cisneros (‘“Trustee” or “Applicant”), for the

bankruptcy estate of Shamicka Lawrence (“Debtor”), respectfully represents that:

Application

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A. The Filing of the Petition and Subject Property.

1. Applicant is the duly qualified and acting Chapter 7 Trustee in the case of Shamicka

Lawrence (“Debtor”), Case No. 6:23-bk-15163-WJ (“Estate”).

2. This case was commenced on November 3, 2023 by the filing of a skeletal Voluntary

Petition under Chapter 7 of the Bankruptcy Code. Thereafter, Applicant was appointed Chapter 7

Trustee.
3 On November 17, 2023, Debtor filed her sworn schedules wherein she identified her

3.
ownership of the real property commonly known as 11364 Estates Court, Riverside, CA 92503
(“Property”), valued same at $1,200,000, subject to no secured debt, and claimed a homestead
exemption of “100% of fair market value.” Debtor also indicated that she only held a 50% interest in
the Property and the other 50% was “held by a third party trust for the benefit of her adult children.”

Trustee’s Property Valuation and Debtor’s Rejection of Equity Buyback Offer.

B.
4. The Trustee ran online comparables for the Property and obtained values over $2 million.
5. At the initial § 341(a) meeting of creditors (“341 Meeting”) scheduled on December 6,

2023, Trustee inquired how the Debtor had valued the Property and Debtor testified that she had
obtained a broker’s price opinion for the Property in 2020 wherein the value was determined as
$1,200,000; and she searched online comparables for recent values. The Debtor also testified that the
Property had been purchased for $1,200,000 in 2012. Trustee requested evidence of Debtor’s source of
valuation, along with other documents relating to the ownership of the Property; and continued tl

matter. The Trustee also set an appointment to visit the Property with his broker for an interior

inspection and current valuation.
6. The Trustee and his broker, Brian Thompson of Winterstone Real Estate and

Development (“Broker”) visited the Property. After the interior inspection, the Broker provided a BPO

of $1,800,000 (over $600,000 more than scheduled by Debtor).

7. Furthermore, the Trustee was apprised that the Property had a tax assessed value of

approximately $1.5 million in 2023 and approximately $1.4 million from 2019 to 2022. At the

continued 341 Meeting, Trustee inquired who was responsible for paying the real property taxes and

Debtor advised that she paid her half to the Trust.

Application

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8. Based upon Trustee’s valuation, Trustee determined there was equity for the benefit of
the Estate after the 50% co-owner interest, homestead exemption, and costs of sale. Therefore, Trustee’s
counsel prepared an equity buy back offer and presented same to Debtor.

9. After reviewing the offer, the Debtor declined to purchase the Estate’s interest in the

Property and consented to the marketing and sale of same.

10, Trustee is advised that the Trust is also not inclined to purchase the Property and will

consent to the sale.
D. Trustee’s Proposed Retention of Broker to Market and Sell the Property.

11. Based on Trustee’s consultation with a real estate professional, the condition of the

Property, and Trustee’s equity analysis, Trustee has agreed to list the Property for $1,900,000.

12. Brian Thompson (“Broker”) of Winterstone Real Estate and Development is prepared to

undertake a specific marketing program to sell the Property. Therefore, the Applicant intends to enter
into a Residential Listing Agreement (“Listing Agreement”) with Broker, a copy of which is attached to
the accompanying declaration of Broker as Exhibit “1.”

12. The Listing Agreement provides for sales commission of 5%.

13. Considering the type and number of properties currently available in the respective area,

the Applicant believes the proposed sale commissions are fair and reasonable to ensure a successful

marketing program.
14. Any disputes relating to the Listing Agreement shall be subject to the sole and exclusive

jurisdiction of the Bankruptcy Court, sitting without a jury.

15. Any sale shall be subject to the notice and hearing requirements provided in Title 11 of

the United States Code.
16. Broker’s Statement of Disinterestedness is included in the accompanying declaration of

Broker. Broker will be primarily responsible for marketing the Property. Broker’s Curriculum Vitae is

attached to the accompanying declaration of Broker as Exhibit “2” and is incorporated herein by this |.

reference.
Ht
MH

Application
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17... The Declaration of Broker, inter alia, provides that Broker has no interest in the Property
or in this Estate adverse to Debtor or to the Estate. Broker is a disinterested person as defined in §
101(14) of Title 11 of the United States Code.

18. | The Applicant alleges that the Listing Agreement terms are fair, equitable, and in the best
interests of this Estate. The Applicant further alleges that the employment of Broker under the terms
agreed upon as stated herein should be approved.

19. Broker has been advised of and has agreed to accept employment under 11 U.S.C. § 327
and subject to the provisions of 11 U.S.C. § 328(a) and Broker understands that, notwithstanding
approval of his employment by this Court in accordance with the terms herein, the Court may allow
compensation different from the compensation provided under the terms of the agreement between the
parties, if such proves to have been improvident in light of developments that could not have been
reasonably anticipated at the time of filing of such terms.

WHEREFORE, the Applicant prays that the employment of Brian Thompson be approved upon

the terms and conditions set forth in the foregoing Application and Listing Agreements.

DATED: JanvaryZ4 , 2024 Respectfully Respected,
A

“"K. CISNEROS
Chapter 7 Trustee

Application

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DECLARATION OF BRIAN THOMPSON

I, Brian Thompson of Winterstone Real Estate and Development, declare as follows:

1. The matters stated herein are true and correct and within my personal knowledge. If

called as a witness, I could and would competently testify thereto.

2. I am areal estate broker, duly licensed in the State of California, and am the principal of

Winterstone Real Estate and Development (“Broker”).

3. I make this Declaration in support of Chapter 7 Trustee’s Application to Employ Real

Estate Broker, filed concurrently herewith.

4. I have agreed to list, show, and sell the bankruptcy estate’s interest in the real property

commonly known as 11364 Estates Court, Riverside, CA 92503 (“Property”); to represent Trustee as

the Seller in connection with the sale of the Property; and advise Trustee with respect to obtaining the

highest and best offers available in the present market.

5. I have examined the Property, reviewed comparable sales, and have provided Trustee

with a report of my findings and recommendations with regard to the sale of the Property. I have also

conducted an investigation of title and lien information with regard to the Property and provided the

same to Trustee in my report. My suggested listing price is $1,900,000.

6. Trustee intends to enter into Residential Listing Agreement (“Agreement”) with me, a

copy of which is attached hereto as Exhibit “1.”.

7. In consideration for the services rendered by me, and subject to further application and

Court order, I will receive, upon consummation of any such sale, sales commissions as set forth in the

foregoing Application.
8. I am familiar with the foregoing Application and the Property and believe that I am

qualified to represent Trustee and Debtor’s estate in connection with the marketing of the Property.

9. I have agreed to accept employment on the terms and conditions set forth in the

Application. Attached hereto and incorporated herein as Exhibit “2” is a copy of my Curriculum Vitae.

10. I have been informed and understand that no sale of the Property may be consummated

until after (1) notice to creditors with the opportunity for a hearing on the proposed sale; and (2) entry of

a Court Order approving the sale.

Application
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il. JI have a2greed and understand that notwithstanding the terms and conditions of
t the Court may allow compensation different from the compensation

employment herein set forth, tha
ht of developraents

provided herein if such terms and conditions prove to be improvident in lig

unanticipated at the time of the fixing of such terms and conditions.

i do not have a pre-petition claim against Debtor’s Estate.

12.

13. _ | have not received a retainer for the services to be performed for Trustee and Debtor's
Estate.

14. To the best of my knowledge, other than being employed by Trustee in other non-related

matters or bankruptcy cases, I do not have any connection with Trustee, Trustee’s attorneys or
accountants, Debtor, Debtor’s attorneys or accountants, Debtor’s creditors, the United States Trustee, or

Sfice of the United States Trustee, or any other outside party in interest, or

any person employed in the of

their respective aitorneys or accountants.
To the best of my knowledge, I do not have an interest adverse to Debtor or the Estate.

15.
” as the term is defined in 1!

16.

US.C. § 101014).
I declare under penalty of perjury, according to the |
ect and this declaration was executed at Luke

To the best of my knowledge, J am a “disinterested person

aws of the United States of America, that

EB res , California

the foregoing is true and corr

on January ? 4, 2024. .

BRIAN JERIIESON

Application

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DISCLOSURE REGARDING

4 CALIFORNIA
a = ASSOCIATION REAL ESTATE AGENCY RELATIONSHIP
Be OF REALTORS® (As required by the Civil Code)
(C.A.R. Form AD, Revised 12/21)

(] (if checked) This form is being provided in connection with a transaction for a leasehold interest exceeding one year as per Civil

Code section 2079. 13(), (k), and (1).
When you enter into a discussion with a real estate agent regarding a real estate transaction, you should from the outset understand
what type of agency relationship or representation you wish to have with the agent in the transaction.

SELLER'S AGENT
A Seller's agent under a listing agreement with the Seller acts as the agent for the Seller only. A Seller's agent or a subagent of that

agent has the following affirmative obligations:
To the Seller: A Fiduciary duty of utmost care, integrity, honesty and loyaity in dealings with the Seller.

To the Buyer and the Seller:
(a) Diligent exercise of reasonable skill and care in performance of the agent's duties.

(b) A duty of honest and fair dealing and good faith.
(c) A duty to disclose all facts known to the agent materially affecting the value or desirability of the property that are not known to,
f, the parties. An agent is not obligated to reveal to either party any confidential

or within the diligent attention and observation o
information obtained from the other party that does not involve the affirmative duties set forth above.

BUYER'S AGENT .
A Buyer's agent can, with a Buyer's consent, agree to act as agent for the Buyer only. In these situations, the agent is not the Sellers
agent, even if by agreement the agent may receive compensation for services rendered, either in full or in part from the Seller. An agent

acting only for a Buyer has the following affirmative obligations:
To the Buyer: A fiduciary duty of utmost care, integrity, honesty and loyalty in dealings with the Buyer.

To the Buyer and the Seller:
(a) Diligent exercise of reasonable skill and care in performance of the agent's duties.
(b) A duty of honest and fair dealing and good faith.
(c) A duty to disclose all facts known to the agent materially affecting the value or desirability of the property that are not known to,
ligated to reveal to either party any confidential

or within the diligent attention and observation of, the parties. An agent is not ob
information obtained from the other party that does not involve the affirmative duties set forth above.

AGENT REPRESENTING BOTH SELLER AND BUYER ue
@ or more salespersons and broker associates, can legally be the agent of both

A real estate agent, either acting directly or through on
the Seller and the Buyer in a transaction, but only with the knowledge and consent of both the Seller and the Buyer.
In a dual agency situation, the agent has the following affirmative obligations to both the Seller and the Buyer: :
ty and loyalty in the dealings with either the Seller or the Buyer.

(a) A fiduciary duty of utmost care, integrity, hones
tated above in their respective sections.
f the respective party, disclose to the

(b) Other duties to the Seller and the Buyer as s
dual agent may not, without the express permission ©
ither the Buyer's or Seller's financial position,

In representing both Seller and Buyer, a

other party confidential information, including, but not limited to, facts relating to e

motivations, bargaining position, or other personal information that may impact price, including the Seller's willingness to accept a price

less than the listing price or the Buyer's willingness to pay a price greater than the price offered.

SELLER AND BUYER RESPONSIBILITIES :

Either the purchase agreement or a separate document will contain a confirmation of which agent is representing you and whether that
on to that confirmation to make sure

agent is representing you exclusively in the transaction or acting as a dual agent. Please pay attenti

it accurately reflects your understanding of your agent's role.

The above duties of the agent in a real estate transaction do not relieve a Seller or Buyer from the responsibility to protect his or her
o assure that they adequa

own interests. You should carefully read all agreements t tely express your understanding of the transaction. A

real estate agent is a person qualified to advise about real estate. If legal or tax advice is desired, consult a cormnpetent professional.

if you are a Buyer, you have the duty to exercise reasonable care to protect yourself, including as to those facts about the property

which are known to you or within your diligent attention and observation.

Both Sellers and Buyers should strongly consider obtaining tax advice from a competent professional because the federal and state tax

consequences of a transaction can be complex and subject to change. Lo

Throughout your real property transaction you may receive more than one disclosure form, depending upon the number of agents

assisting in the transaction. The law requires each agent with whom you have more than a casual relationship to present you with this

disclosure form. You should read its contents each time it is presented to you, considering the relationship between you and the real
isions of Sections 2079.13 to 2079.24, inclusive,

estate agent in your specific transaction, This disclosure form Includes the prov
fully. IWE ACKNOWLEDGE RECEIPT OF A COPY OF THIS DISCLOSURE

of the Civil Code set forth on page 2. Read it care
AND THE PORTIONS OF THE CIVIL CODE Des THE SECOND PAGE. a
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PEF CE Arturo Cisneros, Ch 7 Trustee Date i / 29 24

[]Buyer [x Seller [] Landlord] Tenant. FG
(_]Buyer [] Seller [] Landlord [1] Tenant Date
Agent DecuSignedby:  Winterstone Real Estate and Development . DRE Lic. # 02047380
Real Estate Broker (Firm)
Brian Thompson DRE Lic. # 01828461 Date__ 1/29/2024

Buian Tho
By mpeor
—= Debs TOA Et erson or Broker-Associate, if any)

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AD REVISED 12/21 (PAGE 1 OF 2)

DISCLOSURE REGARDING REAL ESTATE AGENCY RELATIONSHIP (AD PAGE 1 OF 2) 1
Lowrence-Estates

Brian Thompson, Broker, 23792 Rockfield Blvd Ste 101 Lake Forest CA 92630 Phone: (949)981-9320 Fax:
Produced with Lone Wolf Transactions (zipForm Edition) 717 N Harwood SI, Suile 2200, Dallas, TX 75201 www. lwolf. com:

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Brian Thompson
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CIVIL CODE SECTIONS 2079.13 - 2079.24 (2079.16 APPEARS ON THE FRONT)

2079.13. As used in Sections 2079.7 and 2079.14 to 2079.24, inclusive, the following ierms have the following meanings :
(a) “Agent” means a person acting under provisions of Title 9 (commencing with Section 2295) in a real property transaction, and includes a person
who is licensed as a real estate broker under Chapter 3 (commencing with Section 10130) of Part 1 of Division 4 of the Business and Professions Code,
and under whose license a listing is executed or an offer to purchase is obtained. The agent in the real property transaction bears responsibility for that
agent's salespersons or broker associates who perform as agents of the agent. When a salesperson or broker associate owes a dutty to any principal,
or to any buyer or seller who is not a principal, in a real properly transaction, that duty Is equivalent to the duty owed to that-party by the broker for whom
the salesperson or broker associate functions. (b) “Buyer” means a transferee In a real property transaction, and includes a person who executes an offer
es of an agent in more than a casual, transitory, or preliminary manner,

{o purchase real property from a seller through an agent, or who seeks the servic
dee or lessee of real properly. (c) “Commercial real property” means
ect to Chapter 2 (commencing with

with the object of entering info a real property transaction. “Buyer” includes ven
all real property in the state, except (1) single-family residential real property, (2) dwelling units made subj
3, (4) vacant land, or (5) a recreational vehicle, as defined in Section 799.29. (d) "Dual
t for both the seller and the buyer in a real properly

Section 1940) of Title 5, (3) a mobilehome, as defined in Section 798.
agent” means an agent acting, elther directly or through a salesperson or broker associale, as agen
an agent, by which the agent has been aulhorized

transaction. (e) “Listing agreement” means a written contract between a seller of real property and

to sell the real property or to find or obtain a buyer, Including rendering other services for which a real estale ficense is required to the seller pursuant

to the terms of the agreement. (f} “Seller's agent” means a person who has obtained a listing of real property to act as an agent for compensation.

(g) “Listing price” is he amount expressed in dollars specified in the listing for which the seller is willing to sell the real property through ihe seller's agent.

(h) "Offering price” is the amount expressed in dollars specified in an offer to purchase for which the buyer is willing to buy the real property. (i) “Offer to

purchase" means a wrilten contract executed by a buyer acting through a buyer's agent that becomes the contract for the sale of (he real property upon
4) ar (2) of Section 761 in property, and includes (1) single-family

acceptance by the seller. {J} “Real properly” means any estate specified by subdivision (
residential property, (2) multiunit residential property with more than four dwelling units, (3) commercial real property, (4) vacant land, (5) a ground lease
in Secilon 18007 of the Health and Safety Code, or 2 mobilehome as defined in
ant to the authority contained in Section 10131.6 of the

coupled with improvements, or (6) a manufactured home as defined |
Section 18008 of the Health and Safety Code, when offered for sale or sold through an agent pursu
ion’ means a transaction for the sale of real property in which an:agent is retained by a buyer,
“sold” refers to a transaction

Business and Professions Code. (k) "Real property transact
seller, or both a buyer and seller to act in that transaction, and includes a listing or an offer {o purchase. (1) “Sell,” “sale,” or
m the seller to (he buyer and includes exchanges of real property between the seller and buyer, transactions for the
for the creation of a leasehold exceeding one year's duration.

for the transfer of real property fro’

creation of a real property sales contrac! within the meaning of Section 2985, and transactions

{m) “Seller’ means the transferor in a real property transaction and includes an owner who lists real property wilh an agent, whelher or not a
transfer resulls, or who receives an offer to purchase real property of which he or she Is the owner from an agent on behalf of another. "Seller"
includes both a vendor and a lessor of real property. (n) “Buyer's agent" means an agent who represents a buyer in a real property transaction.

2079.14. A seller's agent and buyer's agent shail provide the seller and buyer in a real property transaction with a copy of the disclosure form specified in
Section 2079.16, and shail obtain a signed acknowledgment of receipt from thal seller and buyer, except as provided In Section 2079.15, as follows: (a)
The seller's agent, if any, shall provide the disclosure form to the selier prior to entering into the listing agreement. (b): The buyer's agent shall provide
the disclosure form to the buyer as soon as practicable prior to execution of the buyer's offer to purchase. If the offer to-purchase is nol prepared by the
buyer's agent, the buyer's agent shall present the disclosure form to the buyer not later than the next business day after receiving the offer to purchase

from the buyer.

real property or in a separate writing execut
contract by the buyer and the seller, respectively, (b) As soon as practicable, v i 4
acting in the real property transaction as the seller's agent, or as a dual agent representing poth the buyer and seller. This relationship shall be confirmed in
the contract to purchase and sell real property or in a separate writing executed or acknowledged by the seller and the seller's agent prior to or coincident
with the execution of that contract by the seller. :
CONFIRMATION: (c) The confirmation required by subdivisions (a) and (b) shall be in the following form: .
Seller's Brokerage Firm DO NOT. COMPLETE. SAMPLE ONLY License Number
Is the broker of (check one): [_] the seller; or L] both the buyer and seller. (dual agent)
Seller's Agent DO NOT COMPLETE. SAMPLE ONLY License Number
Is (check one): [_] the Seller's Agent. (salesperson or broker associate) [ | both the Buyer's and Seller's Agent. (dual agent)
Buyer's Brokerage Firm DO NOT COMPLETE, SAMPLE ONLY. License Number
is the broker of (check one): [] the buyer; or [|] both the buyer and seller. (dual agent) :
DO NOT COMPLETE. SAMPLE ONLY License Number
ate) [_] both the Buyer's and Seller's Agent. (dual agent)
's duty to provide

Buyer's Agent
the Buyer's Agent. (salesperson or broker associ ! e '
ddition to the disclosure required by Section 2079.14. An agent
broker associate affiliated wilh that broker.

seller or buyer Is not necessarily determinalive of a
agent may agree to’share any compensation or

2079.18 (Repealed pursuant to AB-1289)
obligation to pay compensation to an agent by the
it of a real estate transaction, and the terms of

particular agency relationship between an agent and the seller or buyer. A listing agent and a selling

tion or commission for which an obligation arises as the resu

y {erminative of a particular relatianship. ek, oo

2079.20 Nothing in this article prevents an agent from selecting, as a condition of the agent's employment, a specific form of agency relationship not
14 and Section 2079.17 are complied with, ,

to the buyer any confidential information obtained from the seller.

fidential Information obtained from the buyer. (c)

“Confidential information” means facts relating to the client i |
less than the fisting price or the buyer is willing . 0
t to confidential information other than price.
buyer's agent. If a seller or buyer in a fransaction chogses to not be represented

by
2079.23 A contract between the principal and agent may b
the act which Is the object of the ag
2079.24 Nothing in this article shall be construed to either diminish the duty of
subagents, and employees or to relleve agents and thelr associate licensees,
acts governed by this article or for any breach of a fiduciary duty or a duty of disclosure. '
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form, or any portion thereof, by photocopy machine or any other means, including facsimile or computerized formats. THIS FORM HAS BEEN APPROVED BY THE
CALIFORNIA ASSOCIATION OF REALTORS®, NO REPRESENTATION IS MADE AS TO THE LEGAL VALIDITY OR ACCURACY OF'ANY PROVISION IN ANY SPECIFIC
TRANSACTION. A REAL ESTATE BROKER IS THE PERSON QUALIFIED TO ADVISE ON REAL ESTATE TRANSACTIONS. IF YOU DESIRE LEGAL OR TAX ADVICE,
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(C.A.R. Form FHDA, Revised 6/23)

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Page 16 af 29

FAIR HOUSING AND DISCRIMINATION ADVISORY

1. EQUAL ACCESS TO HOUSING FOR ALL: All housing in California is available to all persons. Discrimination as noted below is
prohibited by law. Resources are available for those who have éxperienced unequal treatment under the law.

2.
A,

FEDERAL AND STATE LAWS PROHIBIT DISCRIMINATION AGAINST IDENTIFIED PROTECTED CLASSES:
FEDERAL FAIR HOUSING ACT (°FHA") Title VIll of the Civil Rights Act; 42 U.S.C. §§ 3601-3619; Prohibits discrimination in

sales, rental or financing of residential housing against persons in protected classes;

CALIFORNIA FAIR EMPLOYMENT AND HOUSING ACT ("FEHA") California Government Code ("GC") §§ 12900-

B.
12996, 12955: 2 California Code of Regulations (“CCR”) §§ 12005-12271; Prohibits discrimination in’sales, rental or financing
of housing opportunity against persons in protected classes by providers of housing accommodation and financial assistance

services as related to housing;

CALIFORNIA UNRUH CIVIL RIGHTS ACT (“Unruh”) California Civil Code ("CC") § 51;

Prohibits business establishments from

Cc.
discriminating against, and requires full and equal accommodation, advantages, facilities, privileges, and services to persons

in protected classes;

D. AMERICANS WITH DISABILITIES ACT (“ADA"

on disability in public accommodations; and

E. OTHER FAIR HOUSING LAWS: § 504 of Rehabilitation Act of 197
California Disabled Persons Act: CC §§ 54-55.32; any local city or county fair housing ordinances, as applicable.

POTENTIAL LEGAL REMEDIES FOR UNLAWFUL DISCRIMINATION: Violations of fair housing laws ma
ry and/or punitive damages, and attorney fees and costs.

her specified in Federal or State law or both, discrimination against persons

monetary civil fines, injunctive relief, compensato
PROTECTED CLASSES/CHARACTERISTICS: Whet

) 42 U.S.C. §§ 12181-12189; Title Ill of the ADA prohibits discrimination based
3 29 U.S.C. § 794; Ralph Civil Rights Act CC § 51.7;

y result in

4,
based on that person's belonging to, association with, or perceived membership in, certain classes or ,categories, such as the

following, is prohibited. Other classes, categories or restrictions may also apply.
Race Color Ancestry National Origin ‘Religion
Age Sex, Sexual Orientation Gender, Gender Identity, Marital Status _Famillal Status (family with
Gender expression a child of children under
48)
Citizenship immigration Status Primary Language Military/Veteran Status “Source of income (e.g.,
Section 8 Voucher)
Disability (Mental & Physical) | Genetic information Criminal History (non- ‘Any arbitrary characlenstic
relevant convictions) oy

Medical Condition

7,
e Sellers
e Real estate licensees
® Mobilehome parks
« Insurance companies
8.

offers were rejected.

B. Refusing to rent (I) an upper-
with a pool to a person with young children out of concern for the c

9. EXAMPLES OF UNLAWFUL OR IMPROPER CONDUCT BASED ONA
A. Refusing to negotiate for a sale, rental or financing or otherwise make a hous
“channeling” or “steering” a prospective buyer or tenant to or away from a

modations or

e Landlords/Housing Providers

DISCRIMINATORY EFFECT:
A. Prior to acceptance of an offer, asking for or offering buyer personal information o'

Those types of documents may inadvertently reveal, or be perceived as revealing,
the risk of (i) actual or unconscious bias, and (ii) potential legal claims against selle

Jevel unit to an elderly tenant out of concer for the tenants ability to navigate stairs or (ii) a house

HARAGTERISTIC:
ing opportunity unavailable;’ failing to present offers:

due to a person's protected status;

B. Refusing or failing to show, rent, sell or finance housing:
particular area due to that person's protected status or because o
C. “Blockbusting” or causing “panic selling” by inducing a listing,
increase in crime, or decline in school quality due to the entry or prospec’

neighborhood; a
t Indicates any preference, limitation, or discrimination,

D. Making any statement or advertisement tha

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FHDA REVISED 6/23 (PAGE 1 OF 2)

« Real estate brokerage firms
® Homeowners Associations ("HOAs"),

® Government housing services
EXAMPLES OF CONDUCT THAT MAY NOT BE MOTIVATED BY DISCRIMINATORY INTENT Bi
r letters from the buyer’ especially with photos.

protected status information thereby increasing
rs and others by prespective buyers whose

FAIR HOUSING AND DISCRIMINATION ADVISORY (FHDA PA

t

THE CALIFORNIA DEPARTMENT OF REAL ESTATE REQUIRES TRAINING AND SUPERVISION TO PREVENT HOUSING

DISCRIMINATION BY REAL ESTATE LICENSEES:
A. California Business & Professions Code (“B&PC") § 10170.5(a)(4) requires

renewal: Real Estate Regulation § 2725(f) requires brokers who oversee sa

federal and state laws relating to the prohibition of discrimination.

B. Violation of DRE regulations or real estate laws against housing

or suspension of the licensee's real estate license. B&PC §10177(1)

6. REALTOR® ORGANIZATIONS PROHIBIT DISCRIMINATION: NAR Cod

practices or in rendering real estate license services against any person because of race, color, religion; sex

national origin, sexual orientation, or gender identity by REALTORS®.

WHO iS REQUIRED TO COMPLY WITH FAIR HOUSING LAWS?
Below is a non-exclusive list of providers of housing accom

are most likely to be encountered in a housing transaction an

3 hours of training on: fair housing for DRE license
lespersons to be familiar with the requirements of

discrimination by a real estate licensée may resull in the loss

1); 10 CCR § 2780
le of Ethics Article 10 prohibits discrimination in employment

, disability, familial status,

financial assistance services as related to housing who

d who must comply with fair housing laws.
e Sublessors

« Property managers

hildren's safety.
PROTECTED CLASS OR C.

GE 1 OF 2)

® Banks and Mortgage lenders
e Appraisers

UT COULD HAVE A

f the racial, religious or ethnic composition of the neighborhood;
sale or rental based on the grounds of loss of value of property,
tive entry of people in protected categories into the

CQUaL etary
Decay

Lawrence-Estates |

Brian Thompson, Broker, 23792 Rockfield Hivd Ste 103 Lake Forest CA 92630

Brinn Thompson

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Inquiring about protected characteristics (such as asking tenant applicants if they are married, ‘or prospective purchasers if

they have children or are planning to start a family);
ligibility, and without a legally sufficient justification;

Using criminal history information before otherwise affirming e'
Failing to assess financial standards based on the portion of the income responsible by a tenant who receives government
the part of rent that is the

F.
G.
subsidies (such as basing an otherwise neutral rent to income ratio on the whole rent rather than just

E.

tenant's responsibility):
Denying a home loan or homeowner's insurance;
Offering inferior terms, conditions, privileges, facilities or services;
tal of housing such as income standards, application

Using different qualification criteria or procedures for sale or ren
requirements, application fees, credit analyses, sale or rental approval procedures or other requirements;

Harassing a person;

Taking an adverse action based on protected characteristics; J
ted by a person with a disability (such as refusing to allow

Refusing to permit a reasonable modification to the premises, as reques
a tenant who uses a wheelchair to install, at their expense, a ramp over front or rear steps, or refusing to allow a tenant with a

disability from installing, at their own expense, grab bars in a shower or bathtub);
N. Refusing to make reasonable accommodation in policies, rules, practices, or services for a person with a disability (such as the

following, if an actual or prospective tenant with a disability has a service animal or support animal):

(i) Failing to allow that person to keep the service animal or emotional support animal in rental property,

(ii) Charging that person higher rent or increased security deposit, or

(iii) Failing to show rental or sale property to that person who is accompanied by the service animal or support animal, and;
O. Retaliating for asserting rights under fair housing laws. :
10. EXAMPLES OF POSITIVE PRACTICES:

A. Real estate licensees working with buyers or tenants should apply the same objective property selection criteria, such as

eS, and price range and other considerations, to all prospects.
client's selection criteria.

complete and objective information to all clients based on the
| courtesy in responding to inquiries, sharing of information and

BCR GFr

location/neighborhood, property featur

Real estate licensees should provide c
Real estate licensees should provide the same professiona

offers of assistance to all clients and prospects. . ’

Housing providers should not make any statement or advertisement that directly or indirectly implies preference, limitation, or

discrimination regarding any protected characteristic (such as “no children" or “English-speakers only’).

Housing providers should use a selection process relying on objective information about a prospective buyer's offer or tenant's

application and not seek any information that may disclose any protected characteristics (such as.using a summary document,

e.g. C.A.R. Form SUM-MO, to compare multiple offers an objective terms). by

41. FAIR HOUSING RESOURCES: If you have questions about your obligations or rights under the Fair Housing laws, or you think
you have been discriminated against, you may want to contact one or more of the sources listed below to discuss what you can do

about it, and whether the resource is able to assist you. 4 :

Federal: https:/Awww.hud.gov/program_offices/fair_housing_equal_opp :

State: https:/calcivilrights.ca.gov/housing/

Local: local Fair Housing Council office (non-profit, free service) '

DRE: https:/Mwww.dre.ca.gov/Consumers/FileComplaint.htmi .

car.org/en/contactus/rosters/localassociationroster.

Local Association of REALTORS®, List available at: https://www.
licable, landiord-tenant attorney.
eption below without first

. Any qualified California fair housing attorney, or if app
LIMITED EXCEPTIONS TO FAIR HOUSING REQUIREMENTS: No person should rely on any exc
Real estate licensees are not qualified to

12,

seeking legal advice about whether the exception applies to their situation.
provide advice on the application of these exceptions. :
A is exempt from FHA, FEHA and Unruh as related to age or familial status only,
lodger may be exempt from FEHA for rental

. Legally compliant senior housing
B. An owner of a single-family residence who resides at the property with one
s, PROVIDED no real estate licensee is Involved in the rental;
le or rental purposes, PROVIDED (i) no real estate

purpose:
C. An owner of a single-family residence may be exempt from FHA for sa s, \
licensee is involved in the sale or rental and (ii) no discriminatory advertising is used, and (iif) the owner owns no more than
mpt from FHA for rental

three single-family residences. Other restrictions apply;
ts who resides at the property, may be exe

D. An owner of residential property with one to four uni
licensee is involved in the rental; and by
Roommate.com LLC, 666 F.3d 1216 (2018).

purposes, PROVIDED no real estate
Both FHA and FEHA co not apply to roommate situations. See, Fair Housing Council v 566 |
Act of 1866 prohibit discrimination based on race;

E,
F. Since both the 14th Amendment of the U.S. Constitution and the Civil Rights
the FHA and FEHA exemptions do not extend to discrimination based on race.
Buyer/Tenant and Seller/Housing Provider have read, understand and acknowledge receipt of a copy. of this Fair Housing &

mo og

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poe
yo ES

Discrimination Advisory. ;
_ Date

Buyer/Tenant
Buyer/Tenant 3 a Date
Seller/Housing Provider LO CO (FP pe Arturo Cisneros, Ch 7 Trustee Date [ 29 / 2
Seller/Housing Provider. ___ Date
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IMINATION ADVISORY (FHDA PAGE 2 OF 2) i
* Lawrence-Estales

FAIR HOUSING AND DISCR:
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POSSIBLE REPRESENTATION OF MORE THAN ONE BUYER

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we. ? ae ent tons? OR SELLER - DISCLOSURE AND CONSENT
eS {C.A.R. Form PRBS, Revised 12/21)

A real estate broker (Broker), whether a corporation, partnership or sole proprietorship, may represent more than one buyer
or seller. This multiple representation can occur through an individual licensed as a broker or salesperson or through different
individual broker's or salespersons (associate licensees) acting under the Broker's license. The associate licensees may be

working out of the same or different office locations.
Multiple Buyers: Broker (individually or through its associate licensees) may be working with mary prospective buyers at
the same time. These prospective buyers may have an interest in, and make offers on, the same properties. Some of these
properties may be listed with Broker and some may not. Broker will not limit or restrict any particular buyer from making
an offer on any particular property whether or not Broker represents other buyers interested in the same property.

Multiple Sellers: Broker (individually or through its associate licensees) may have listings on many properties at the same
time. As a result, Broker will attempt to find buyers for each of those listed properties. Some listed properties may appeal to
the same prospective buyers. Some properties may attract more prospective buyers than others. Some of these prospective
buyers may be represented by Broker and some may not. Broker will market all listed properties to all prospective buyers
whether or not Broker has another or other listed properties that may appeal to the same prospective buyers.

Dual Agency: If Seller is represented by Broker, Seller acknowledges that broker may represent prospective buyers
of Seller's property and consents to Broker acting as a dual agent for both seller and buyer in: that transaction. If Buyer
is represented by Broker, buyer acknowledges that Broker may represent sellers of property that ‘Buyer is interested in
acquiring and consents to Broker acting as a dual agent for both buyer and seller with regard to that property.

In the event of dual agency, seller and buyer agree that: a dual agent may not, without the express permission of the
respective party, ed to, facts relating to either the

disclose to the other party confidential information, including, but not limit
buyer's or seller's financial position, motivations, bargaining position, or other personal information’ that may impact price,
including the seller's willingness to accept a price less than the listing price or the buyer's willingness to pay a price
s set forth above, a dual agent is obligated to disclose’ known facts materially

greater than the price offered; and except a
affecting the value or desirability of the Property to both parties.
ential: Buyer is advised that seller or listing agent may disclose the existence, terms, or

Offers not necessarily confid

conditions of buyer's offer unless all parties and their agent have signed a written confidentiality agreernent. Whether any such
information is actually disclosed depends on many factors, such as current market conditions, the prevailing practice in the real
estate community, the listing agent's marketing strategy and the instructions of the seller. fd

Buyer and seller understand that Broker may represent more than one buyer or more than one seller and even both buyer

and seller on the same transaction and consents to such relationships.
Seller and/or Buyer acknowledges reading and understanding this Possible Representation of More Than One

}

Buyer or Seller - Bie Consent and agrees to the agency possibilities disclosed.
oi ey J ~ : *
Seller Lo 4) SEE Ce Arturo Cisneros, Ch 7 Trustee Date | 14 / 2k,
v _
Seller _ Date
Buyer ._ Date
Buyer .. Date
Buyer's Brokerage Firm. DRE Lic# .
By DRE Lic # __. __ Date
Seller's Brokerage Firm Winterstone Real Estate and Development DRE Lic # 02047380 1/29/2024
By (777 DocuSigned by: DRE Lic # 01828461 Date
Brian Thompson Brian Thompoon ra
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PRBS REVISED 12/24 (PAGE 1 OF 1) fo,
POSSIBLE REPRESENTATION OF MORE THAN ONE BUYER OR SELLER (PRBS PAGE 1 OF 1)
Brian Th , Broker, 23792 Rockfield Divd Ste 101 Lake Forest CA 92630 Phona: (949)981-9120 Pax: Lawrence-Extates
| Brian Thomupsot ms “ “Produced with Lane Wolf Transactions (zipForm Edition) 717 N Harwood St, Suito 2200, Dallas, TX 75201 www.hwoifcom |

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WIRE FRAUD AND ELECTRONIC FUNDS

CALIFORNIA

a ASSOCIATION
aS OF REALTORS® TRANSFER ADVISORY
(C.A.R. Form WFA, Revised 12/21)

(‘Property’).

Property Address: 11364 Estates Court, Riverside, CA 92503

WIRE FRAUD AND ELECTRONIC FUNDS TRANSFERS ADVISORY: :
The ability to communicate and conduct business electronically is a convenience and reality in nearly all parts of our lives.
At the same time, it has provided hackers and scammers new opportunities for their criminal activity. Many businesses

have been victimized and the real estate business is no exception. 3
While wiring or electronically transferring funds is a welcome convenience, we all need to exercise extreme caution.
Emails attempting to induce fraudulent wire transfers have been received and have appeared to be legitimate. Reports
indicate that some hackers have been able to intercept emailed transfer instructions, obtain account information and, by
altering some of the data, redirect the funds to a different account, It also appears that some hackers were able to provide
false phone numbers for verifying the wiring or funds transfer instructions. In those cases, the victim called the number
provided to confirm the instructions, and then unwittingly authorized a transfer to somewhere or someone other than the

intended recipient.
ACCORDINGLY, YOU ARE ADVISED:
4. Obtain phone numbers and account numbers only from Escrow Officers, Property Managers, or

Landlords at the beginning of the transaction.
2. DO NOT EVER WIRE OR ELECTRONICALLY TRANSFER FUNDS PRIOR TO CALLING TO
CONFIRM THE TRANSFER INSTRUCTIONS. ONLY USE A PHONE NUMBER YOU WERE

PROVIDED PREVIOUSLY. Do not use any different phone number or account number included

in any emailed transfer instructions.
3. Orally confirm the transfer instruction is legitimate and confirm the bank routing number,
account numbers and other codes before taking steps to transfer the funds.
4. Avoid sending personal information in emails or texts. Provide such information in person or
over the telephone directly to the Escrow Officer, Property Manager, or Landlord.
Take steps to secure the system you are using with your email account. These steps include
creating strong passwords, using secure WiFi, and not using free services.
if you believe you have received questionable or suspicious wire or funds transfer instructions, immediately notify your
bank, and the other party, and the Escrow Office, Landlord, or Property Manager. The sources below, as well as others,

can also provide information:
Federal Bureau of Investigation: https:/Avww.fbi.gov/; the FBI's IC3 at www.ic3.gov, or 310-477-6565 |

§.

National White Collar Crime Center: http:/Avww.nw3c.org/

On Guard Online: https:/Awww.onguardonline.gov/ , .
NOTE: There are existing alternatives to electronic and wired fund transfers such as cashier's checks.
By signing below, the undersigned acknowledge that each has read, understands and has received a
copy of this Wire Fraud and Electronic Funds Transfer Advisory. ay

‘ ‘Date

Buyer/Tenant
: Date

1/23 [24

Buyer/Tenant
Arturo Cisneros, Ch 7 Trustee Date

SelleriLandiord Lo C4 Cee
' |! Date
4

Lf
Seller/Landlord

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WFA REVISED 12/21 (PAGE 1 OF 1)
WIRE FRAUD AND ELECTRONIC FUNDS TRANSFER ADVISORY (WFA PAGE OF 1}

Brian Thampson, Broker, 23792 Rockfield Blvd Ste 101 Lake Forest CA 92630 Phone: (949)981-9120 Fac. ;
Brian Thompsan Produced with Lone Wolf Transactions (zipForm Edition} 717 N Harwood St, Sule 2200, Dallas, TX 75201 yewwlwoill.com

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éS CALIFORNIA RESIDENTIAL LISTING AGREEMENT
ASSOCIATION (Exclusive Authorization and Right to Sell
wy OF REALTORS® (C.A.R. Form RLA, Revised 12223)
Date Prepared: 01/27/2024
4. EXCLUSIVE RIGHT TO SELL: Arturo Cisneros, Ch7 Trustee (‘Seller’)
hereby employs and grants Winterstone Real Estate and Development (‘Broker’)
- beginning (date) January 27, 2024 and ending at 11:59 P.M. on (date) January 20, 2025 (‘Listing Period”)*
the exclusive and irrevocable right to sell or exchange the real property described as 11364 Estates Court
, Situated in Riverside (City),
Riverside (County), California, 92503 __ (Zip Code), Assessor's Parcel No. _ 136-050-035 ("Property").

[| ws Property is a manufactured {mobile) home. See Manufactured Home Listing Addendum (C.A:R. form MHLA) for additional

erms. foo

[| This Property is being sold as part of a probate, conservatorship, guardianship, or receivership. See for Probate Listing
Addendum and Advisory (C.A.R. Form PLA) additional terms.

*The maximum listing period allowed by law for residential property improved with one fo four units is 24 ‘months from the date this

agreement is made. This restriction does not apply if Seller is a corporation, LLC or partnership. it is unlawful to record or file this

listing agreement, or a memorandum or notice thereof, with the county recorder. :
2. LISTING PRICE AND TERMS:

A. The listing price shall be: One Million, Nine Hundred Thousand :

Dollars ($ 1,900,000,00 ).

B. Listing Terms: Additional Listing Terms Broker's Authorization and Right to Sell Form (Attached).

3. COMPENSATION TO BROKER: :

Notice: The amount or rate of real estate commissions is not fixed by Jaw. They are set by each Broker

individually and may be negotiable between Seller and Broker (real estate commissions include all

compensation and fees to Broker).

A. Seller agrees to pay to Broker as compensation for services irrespective of agency relationships), either bd 5.000 percent
of the listing price (or if a purchase agreement is entered into, of the purchase price), or []$ . ,
AND ws: , a5 follows:
(1) If during the Listing Period, or any extension, Broker, cooperating broker, Seller or any other person procures a ready,

willing, and able buyer(s) whose offer to purchase the Property on any price and terms is accepted by Seller, provided the
Buyer completes the transaction or is prevented from doing so by Seller. (Broker is entitled to compensation whether any
escrow resulting from such offer closes during or after the expiration of the Listing Period, or any extension.)

OR (2) Ifwithin calendar days (a) after the end of the Listing Period or any extension; or (b) ‘after any cancellation of this
Agreement, unless otherwise agreed, Seller enters into a contract to sell, convey, lease or otherwise transfer the Property
to anyone (“Prospective Buyer") or that person's related entity: (i) who physically entered and was shown the Property
during the Listing Period or any extension by Broker or a cooperating broker; or (ii) for whom Broker or any cooperating
broker submitted to Seller a signed, written offer to acquire, lease, exchange or obtain an option.on the Property. Seller,
however, shall have no obligation to Broker under paragraph 3A(2) unless, not later than the end of the Listing Period
or any extension or cancellation, Broker has given Seller a written notice of the names of such Prospective Buyers.

OR (3) if, without Broker's prior written consent, the Property is withdrawn from sale, conveyed, leased, rented, otherwise
transferred, or made unmarketable by a voluntary act of Seller during the Listing Period, or any extension.

B. If completion of the sale is prevented by a party to the transaction other than Seller, then compensation which otherwise would
have been earned under paragraph 3A shall be payable only if and when Seller collects damages by suit, arbitration, settlement
or otherwise, and then in an amount equal to the lesser of one-half of the damages recovered or the above compensation, after
first deducting title and escrow expenses and the expenses of collection, if any. Do.

C. In addition, Seller agrees to pay Broker: :

D. Seller has been advised of Broker's policy regarding cooperation with, and the amount of compensation offered to, other brokers.
(1) Broker is authorized to cooperate with and compensate brokers participating through the multiple listing service(s)

("MLS") by offering to MLS brokers out of Broker's compensation specified in paragraph 3A; either ix 2.500 _ percent
of the purchase price, or[_]$ . so!
(2) Broker is authorized to cooperate with and compensate brokers operating outside the MLS as per Broker's policy.

E. Seller hereby irrevocably assigns to Broker the above compensation from Seller's funds and proceeds in escrow, Broker may
submit this Agreement, as instructions to compensate Broker pursuant to paragraph 3A, to any escrow regarding the Property
involving Seller and a buyer, Prospective Buyer or other transferee. .

F. (1) Seller represents that Seller has not previously entered into a listing agreement with another broker regarding the Property,

unless specified as follows: _ :
(2) Seller warrants that Seller has no obligation to pay compensation to any other broker regarding the Property unless the
Property is transferred to any of the following individuals or entities: See Additonal Terms, Section 19
(3) Ifthe Property is sold to anyone listed above during the time Seller is obligated to compensate another broker: (i) Broker is
not entitled to compensation under this Agreement; and (ii) Broker is not obligated to represent Seller in such transaction.
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RLA REVISED 12/23 (PAGE 1 OF 6) Seller's Initials i __ ama
RESIDENTIAL LISTING AGREEMENT - EXCLUSIVE (RIA PAGE 1 OF 6) _.
Brinn Thomsen’ Broker, 23792 Rockfield Blvd Sie 10) tate Fone Wolf Transactions (2ipFenm Edilian) 717 N Harwood gi gute 2200, Dal, 1 75201 youu lwoll. com tawrence Bstaes |

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Date: 01/27/2024

Property Address: 11364 Estates Court, Riverside, CA 92503
4. A. ITEMS EXCLUDED AND INCLUDED: Unless otherwise specified in a real estate purchase agreement, all fixtures and fittings

MULTIPLE LISTING SERVICE:

that are attached to the Property are included, and personal property items are excluded, from the purchase price.
ADDITIONAL ITEMS EXCLUDED: wok .

ADDITIONAL ITEMS INCLUDED:
Seller intends that the above items be exciuded or included in offering the Property for sale, but understands that: (i) the

purchase agreement supersedes any intention expressed above and will ultimately determine which items are excluded and
included in the sale; and (ii) Broker is not responsible for and does not guarantee that the above exclusions and/or inclusions
will be in the purchase agreement. 2
(1) LEASED OR NOT OWNED ITEMS: The following items are leased or not owned by Seller:
Solar power system _—‘ [_]Alarm system ["] Propane tank [_] Water Softener
Other
(2) LIENED ITEMS: The following items have been financed and a lien has been placed on the Properly to secure payment:
Heeer power system CT Windows or doors Heating/Ventilation/Air conditioning system ;
Other :
Seiler will provide to Buyer, as part of the sales agreement, copies of lease documents, ar other documents obligating Seller to
pay for any such leased or liened item. Po

SMART HOME FEATURES: The following smart home features/devices are:
(1) INCLUDED IN THE SALE (information regarding apps, logins, and instructions may be required in the sale):

(2) EXCLUDED FROM THE SALE:

d disseminated to and accessible by all

5.
A. WHAT IS AN MLS? The MLS is a database of properties for sale that is available an
h in paragraph 7, participants and subscribers

other real estate agents who are participants or subscribers to the MLS. As set fort
conducting public marketing of a property listing must submit the property informati
to the MLS describes the price, terms and conditions under which the Sellers property is offered for sale (including but not limited
to the listing broker's offer of compensation to other brokers). Itis likely that a significant number of real estate practitioners in
any given area are participants or subscribers to the MLS. The MLS may also be part of a reciprocal agreement to which other
multiple listing services belong. Real estate agents belonging to other multiple listing services that have reciprocal agreements
with the MLS also have access to the information submitted to the MLS, The MLS may further transmit listing information to
internet sites that post property listings online. -
WHAT INFORMATION IS PROVIDED TO THE MLS: All terms of the transaction, including sales. price and financing, if
applicable, (i) will be provided to the MLS in which the Property is listed for publication, dissemination and use by persons and
entities on terms approved by the MLS, and (ii) may be provided to the MLS even if the Property was not listed with the MLS.
Seller consents to Broker providing a copy of this listing agreement to the MLS if required by the MLS: :

CRMLS ‘ Multiple Listing Service

WHAT !S BROKER'S MLS? Broker is a participant/subscriber to |
(MLS) and possibly others. That MLS is (or if checked [is not) the primary MLS for the geographic area of the Property. When
required by paragraph 7 or by the MLS, Property will be listed with the MLS(s) specified above. ° |

ion to the MLS. Property information submitted

6. BENEFITS OF USING THE MLS; IMPACT OF OPTING OUT OF THE MLS; .
A. EXPOSURE TO BUYERS THROUGH MLS: Listing property with an MLS exposes a seller's property to ‘all real estate agents and

brokers (and their potential buyer clients) who are participants or subscribers to the MLS or a reciprocating MLS. The MLS may
further transmit the MLS database to Internet sites that post property listings online. tt

IMPACT OF OPTING OUT OF MLS: if Seller elects to exclude the Property from the MLS, Seller understands and acknowledges
that: (1) Seller is authorizing limited exposure of the Property and NO marketing or advertising of the Property to the public will
occur; (ii) real estate agents and brokers from other real estate offices, and their buyer clients, who have access to that MLS may
not be aware that Seller's Property is offered for sale; (ili) Informatian about Seller's Property will not be transmitted from the MLS
to various real estate Internet sites that are used by the public to search for property listings and; (iv) real estate agents, brokers
and members of the public may be unaware of the terms and conditions under which Seller is marketing the Property.
REDUCTION IN EXPOSURE: Any reduction in exposure of the Property may lower the number of offers and negatively impact
the sales price. : {
NOT LISTING PROPERTY IN A LOCAL MLS: ff the Property is listed in an MLS which does not cover the geographic area where
the Property is located then real! estate agents and brokers working that territory, and Buyers they represent looking for property

. 0s

in the neighborhood, may not be Pe) is for sale.
SF. Broker’s/Agent's Initials BT

Seller's Initials {

B.

*
7. PUBLIC MARKETING OF PROPERTY: Se
A. a Do NOT require ~ see paragraph 7F). that residential real property

CLEAR COOPERATION POLICY: MLS rules require

with one to four units and vacant lot listings be submitted to the MLS within 1 business day of any public marketing.

PUBLIC MARKETING WITHIN CLEAR COOPERATION: (i) Public marketing includes, but is not limited to, flyers displayed in

windows, yard signs, digital marketing on public facing websites, brokerage website displays, digital communications marketing

and email blasts, multi-brokerage listing sharing networks, marketing to closed or private listing clubs of groups, and applications
lude an office exclusive listing where there is direct promotion

available to the general public. (ii) Public marketing does not inc ere |
iated with the listing brokerage, and one-to-one promotion between these

of the listing between the brokers and licensees affi
licensees and their clients. : .
Seller's initials pie 2

RLA REVISED 12/23 (PAGE 2 OF 6)

RESIDENTIAL LISTING AGREEMENT - EXCLUSIVE (RLA PAGE 2 OF 6)- :
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Property Address: 11364 Estates Court, Riverside, CA_ 92503 3
Cc, “COMING SOON” STATUS IMPACT ON MARKETING; Days on Market (DOM): Seller is advised to discuss with Broker the
meaning of “Coming Soon" as that term applies to the MLS in which the Property will be listed, and how any Coming Soon status

will impact when and how a listing will be viewable to the public via the MLS. Seller does (}does not) authorize Broker to utilize

Coming Soon status, if any. Seller is further advised to discuss with Broker how any DOM calculations or similarly utilized tracking

field works in the MLS in which the Property will be listed. :
Seller Instructs Broker: (MLS may require C.A.R. Form SELM or local equivalent form) :
ié beginning date of this

(1) Seller instructs Broker to market the Property to the public, and to start marketing oni th

Agreement or[_ | (date).
OR (2) Seller instructs Broker NOT to market the Property to the public. Seller understands that no public marketing will occur
and the scope of marketing that will occur will consist only of direct one-on-one promotion between the brokers and licensees

affiliated with the listing brokerage and their respective clients. ‘ :,
tands and agrees that should any public marketing of ihe

E, Whether paragraph 7D(1) or 7D(2) is selected, Seller unders'
Property occur, the Property listing will be submitted to the MLS within 1 business day.

F, [_]CLEAR COOPERATION POLICY DOES NOT APPLY: Paragraphs 7A (other than the language in the parenthetical), 7B, 7D
and 7E do not apply to this listing. Broker shall disclose to Seller and obtain Seller's consent for any instruction to not market the

Property on the MLS or to the public.
8. MLS DATA ON THE INTERNET: MLS rules allow MLS data to be made available by the MLS to additional Internet sites unless
Broker gives the MLS instructions to the contrary. Specific information that can be exciuded from the Internet as permitted by (or in

accordance with) the MLS is as follows: /
PROPERTY OR PROPERTY ADDRESS: Seller can instruct Broker to have the MLS not display the Property or the Property
address on the Internet (C.A.R. Form SELI). Seller understands that either of these opt-outs would mean consumers searching

for listings on the Internet may not see the Property ar Property's address in response to their search.

'

B. FEATURE OPT-OUTS: Seller can instruct Broker to advise the MLS that Seller does not want visitors to MLS Participant or
Subscriber Websites or Electronic Displays that display the Property listing to have the features below (C.A.R, Form SELI). Seller
understands (i) that these opt-outs apply only to Websites or Electranic Displays of MLS Participants and Subscribers who are
real estate broker and agent members of the MLS; (ii) that other Internet sites may or may not have the features set forth herein;
and (ili) that neither Broker nor the MLS may have the ability to control or block such features on other Internet sites.

(1) COMMENTS AND REVIEWS: The ability to write comments or reviews about the Property on those:sites; or the ability to link
to another site containing such comments or reviews if the link is in immediate conjunction with the Property display.
(2) AUTOMATED ESTIMATE OF VALUE: The ability to create an automated estimate of vafue or to link to another site containing
such an estimate of value if the link is in immediate conjunction with the Property display. ct
by C.A.R. Form SELI or the

SELLER ELECTION TO OPT-OUT: CT] Seller elects to opt out of certain Internet features as provided

Cc.
local equivalent form. :

3. SELLER REPRESENTATIONS: Seller represents that, unless otherwise specified in writing, Seller is unaware of. (i) any Notice of
loan secured by, or other obligation affecting, the

Default recorded against the Property; (ii) any delinquent amounts due under any | { »blige t
Property; (iii) any bankruptcy, insolvency or similar proceeding affecting the Property; (iv) any litigation, arbitration, administrative
action, government investigation or other pending or threatened action that affects or may affect the Property or Seller's ability to
transfer it and (v) any current, pending or proposed special assessments affecting the Property. Seller shall promptly notify Broker
in writing if Seller becomes aware of any of these items during the Listing Period or any extension thereof. |

40. BROKER'S AND SELLER'S DUTIES: .

A. Broker Responsibility, Authority and Limitations: Broker agrees to exercise reasonable effort and due diligence to achieve
the purposes of this Agreement. Unless Seller gives Broker written instructions to the contrary, Broker is authorized, but not
required, to (i) order reports and disclosures including those specified in 10E as necessary, (ii) advertise and market the
Property by any method and in any medium selected by Broker, including MLS and the Internet, and, to the extent permitted by
these media, control the dissemination of the information submitted to any medium, and (li) disclose to any real estate licensee
making an inquiry the receipt of any offers on the Property and the offering price of such offers. =~

Seller. Seller is advised that certain:buyers may prefer not
fer if there is an instruction that all offers will be presented

B. Presentation of Offers:
ire in the hopes’ Seller will accept before the

(1) There are different strategies for obtaining the best offer for
to be in a competitive situation and either may not make an o

at a later specified time or may try to make a “preemptive” offer that will exp
d io discuss and consider the best strategy for Seller. DN
| offers received for Sellers Property, and

presentation date. Seller is advise
(2) (A) Seller instructs Broker to Present Offers: Broker agrees to present al C
resent them to Seller as soon as possible, unless Seller gives Broker written instructions to the contrary.
Seller has elected‘to have Broker hold ail offers

OR (B) | | Selier instructs Broker not to Present Offers until a Later Time:
and present them to Seller on (date) or [] Days after the property is listed as active on the MLS.
Broker and Seller may amend this time by agreeing in writing. Broker will inform Seller that.an offer has come in, but will
not submit offer to Seller, unless specifically instructed otherwise, in writing. Local MLS rules; may impact this practice

and whether it will provide any benefit to Seller.

Buyer Supplemental Offer Letters (Buyer Letters): so

(1) Paragraph 8 of the Fair Housing and Discrimination Advisory (C.A.R. Form FHDA) attached to this Agreement informs
Seller of the practice of many buyers and their agents of including a Buyer Letter with an offer. to try:to influence a seller to
accept the buyer's offer. Buyer Letters may include photos and video. Whether overt or unintentional, Buyer Letters may
contain information about a buyer's or seller's protected class or characteristics. Deciding whether to accept an offer based
upon protected classes or characteristics is unlawful. Broker will not review the content of Buyer. Letters.

(2) (A) Seller instructs Broker not to present Buyer Letters, whether submitted with an offer or separately at a different

uyer Letters will not be presented to Seller.

time. Seller authorizes Broker to specify in the MLS that B led te
Letters. Broker advises seller that: (i) Buyer Letters may contain

OR (B) [] Seller instructs Broker to present Buyer
information about protected classes or characteristics and such information should not be used in Seller's decision of
whether to accept, reject, or counter a Buyer's offer; and (il) if Seller relies on Buyer Letters, Seller is acting against
Brokers advice and should seek the advice of counsel before doing so. ‘

Seller agrees to consider offers presented by Broker, and to act in good faith to accomplish the sale of the Property by, among

es and, subject to paragraph 3F, referring to Broker all

dD.
other things, making the Property available for showing at reasonable tim agraph |
inquiries of any party interested in the Property. Seller is responsible for determining Vigo and sell the Property.
; poo!
RLA REVISED 12/23 (PAGE 3 OF 6) Seller's Initials Lo /
RESIDENTIAL LISTING AGREEMENT - EXCLUSIVE (RLA PAGE 3 OF 6)
> Lawrence-Estates

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Property Address: 11364 Estates Court, Riverside, CA 92503 :
) Days of the beginning date of this‘Agreement, to order and,

E. Investigations and Reports: Seller agrees, within 5 (or
when required by the service provider, pay for a Natural Hazard Disclosure report and the following reports:

Heer Pest Control, ] General Property inspection, c] Homeowners Association Documents, [_] Preliminary (Title) Report,
Roof Inspection, [_] Pool inspection, [_] Septic/Sewer Inspection, [_] Other
If Property is located in a Common Interest Development or Homeowners Association, Seller is advised that there may be
benefits to obtaining any required documents prior to entering into escrow with any buyer. Such benefits may include, but not
be limited to, potentially being able to lower costs in obtaining the documents and avoiding any potential delays or complications
due te late or slow delivery of such documents. ron
F. Seller further agrees to indemnify, defend and hold Broker harmless from all claims, disputes, litigation, judgments, attorney fees
and costs arising from any incorrect or incomplete information supplied by Seller, or from any material facts that Seller knows but
fails to disclose including dangerous or hidden conditions on the Property.
41. DEPOSIT: Broker is authorized to accept and hald on Seller's behalf any deposits to be applied toward the’ purchase price.

12, AGENCY RELATIONSHIPS: :
A. DISCLOSURE: The Seller acknowledges receipt of a [x] “Disclosure Regarding Real Estate Agency Relationships” (C.A.R. Form

AD). wo

B. SELLER REPRESENTATION: Broker shall represent Seller in any resulting transaction, except as specified in paragraph 3F.

C. POSSIBLE DUAL AGENCY WITH BUYER: Depending upon the circumstances, it may be necessary or appropriate for Broker
to act as an agent for both Seller and buyer, exchange party, or one or more additional parties (“Buyer”). Broker shall, as soon
as practicable, disclose to Seller any election to act as a dual agent representing both Seller and Buyer. If a Buyer is procured
directly by Broker or an associate-licensee in Broker's firm, Seller hereby consents to Broker acting as a dual agent for Seller
and Buyer. In the event of an exchange, Seller hereby consents to Broker collecting compensation from additional parties
for services rendered, provided there is disclosure to all parties of such agency and compensation. Seller understands and
agrees that: a dual agent may not, without the express permission of the respective party, disclose ‘to the other party confidential
information, including, but not limited to, facts relating fo either the Buyer's or Seller's financial position, motivations, bargaining
position, or other personal information that may impact price, including the Seller's willingness to ‘accept a price less than the

d except as set forth above, a dual agent is

fisting price or the Buyer's willingness to pay a price greater than the price offered; an
obligated to disclose known facts materially affecting the value or desirability of the Property to both parties.
prior te or concurrent

D. CONFIRMATION: Broker shall confirm the agency relationship described above, or as modified, in-writing,

with Seller's execution of a purchase agreement. bork

E. POTENTIALLY COMPETING SELLERS AND BUYERS: Seller understands that Broker may have or obtain listings on other
properties, and that potential buyers may consider, make offers on, or purchase through Broker, property the same as or similar
to Seller's Property. Seller consents to Broker's representation of sellers and buyers of other properties before, during and after
the end of this Agreement. Seller acknowledges receipt of a xl "Possible Representation of More than One Buyer or Seller -
Disclosure and Consent” (C.A.R. Form PRBS). :! .

F. TERMINATION OF AGENCY RELATIONSHIP: Seller acknowledges and agrees that the representation duties of, and agency
relationship with, Broker terminate at the expiration of this Agreement or, if it occurs first, the completion of any transaction
specified in this Agreement. oe

13. SECURITY, INSURANCE, SHOWINGS, AUDIO AND VIDEO: Broker is not responsible for loss of of damage to personal or real
property, or person, whether attributable to use of a keysafe/lockbox, a showing of the Property, or otherwise. Third parties, inciuding,
but not fimited to, appraisers, inspectors, brokers and prospective buyers, may have access to, and take videos and photographs
of, the interior of the Property. Seller agrees: (i) to take reasonable precautions to safeguard and protect valuables that might be
accessible during showings of the Property; (ii) to obtain insurance to protect against these risks, Broker does not maintain insurance
to protect Seller. Persons visiting the Property may not be aware that they could be recorded by audio or visual devices installed
by Seller (such as “nanny cams” and hidden security cameras). Seller is advised to post notice disclosing the existence of security
devices, noo

14. PHOTOGRAPHS AND INTERNET ADVERTISING: us
A. In order to effectively market the Property for sale it is often necessary to provide photographs, virtual_tours and other media to

h or otherwise electronically capture

buyers. Seller agrees (or Cl if checked, does not agree) that Broker or others may photograp
images of the exterior and interior of the Property (‘Images") for static and/or virtual tours of the Property by buyers and others

for use on Broker's website, the MLS, and other marketing materials and sites. Seller acknowledges that if Broker engages third
ges, the agreement between Broker and those third parties may provide

parties to capture and/or reproduce and display Ima t
such third parties with certain rights to those Images. The rights to the images may impact Broker's control or lack of control of
future use of the images. If Seller is concerned, Seller should request that Broker provide any third: parties’ agreement impacting

Internet neither Broker nor Seller has control over

the Images. Seller also acknowledges that once Images are placed on the 0 t
who can view such Images and what use viewers may make of the images, or how long such Images. may remain available on

the Internet. Seller further assigns any rights in all Images to the Broker/Agent and agrees that such Images are the property of
Broker/Agent and that Broker/Agent may use such Images for advertising, including post sale and for, Broker/Agent's business

in the future. is
Seller acknowledges that prospective buyers and/or other persons coming onto the property may. take photographs, videos or
other images of the property. Seller understands that Broker does not have the ability to control or block the taking and use of

to publish in the MLS that taking of Images is limited to those

Images by any such persons. (If checked) C] Seller instructs Broker
persons preparing Appraisal or Inspection reports. Seller acknowledges that unauthorized persons may take images who do

not have access to or have not read any fimiting instruction in the MLS or who take images regardiess‘of any limiting instruction
in the MLS. Once Images are taken and/or put into electronic display on the internet or otherwise, neither Broker nor Seller has

control over who views such Images nor what use viewers may make of the Images.

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Seller's Initials AE. ot Don

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RESIDENTIAL LISTING AGREEMENT - EXCLUSIVE (RLA PAGE 4 OF

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Property Address: 11364 Estates Court, Riverside, CA_92503
15. KEYSAFE/LOCKBOX: A keysafe/lockbox is designed to hold a key to the Property to permit access to the Property by Broker,

cooperating brokers, MLS participants, their authorized licensees and representatives, authorized inspectors, and accompanied

prospective buyers. Seller further agrees that Broker, at Broker's discretion, and without further approval from Seller, shall have the
perty to inspectors, appraisers, workers, repair persons, and

right to grant access to and convey Seller's consent to access the Pro,
other persons requiring entry to the Property in order to facilitate the sale of the Property. Broker, cooperating brokers, MLS and
Associations/Boards of REALTORS® are not insurers against injury, theft, loss, vandalism or damage attributed to the use of a

keysafe/lockbox.
A. Seller does (or if checked CJ does not) authorize Broker to install a keysafe/lockbox. ;
ible for obtaining occupant(s)"

B. TENANT-OCCUPIED PROPERTY: If Seller does not occupy the Property, Seller shall be respons
written permission for use of a keysafe/lockbox (C.A.R. Form KLA). o 4
16. SIGN: Seller does (or if checked [does not) authorize Broker to install a FOR SALE/SOLD sign on the Property.
17. EQUAL HOUSING OPPORTUNITY: The Property is offered in compliance with federal, state and local anti-discrimination laws.
18. ATTORNEY FEES: In any action, proceeding or arbitration between Seller and Broker arising out of this Agreement, Seller and
Broker are each responsible for paying their own attorney's fees and costs except as provided in paragraph 22A.
ADDITIONAL TERMS:/ ]REO Advisory Listing (C.A.R, Form REOL) [| Short Sale Information and Advisory (C.A.R. Form SSIA)

[| Trust Advisory (C.A.R, Form TA)
| | Seller intends to include a contingency to purchase a replacement property as part of any resulting transaction

See Text Overflow Addendum (C.A.R. Form TOA) paragraph 1

y

19.

20, MANAGEMENT APPROVAL: If an associate-licensee in Broker's office (salesperson or broker-associate) enters into this Agreement
on Broker's behalf, and Broker or Manager does not approve of its terms, Broker or Manager has the right'to cancel this Agreement,

in writing, within 5 Days After its execution. Pe
21, SUCCESSORS AND ASSIGNS: This Agreement shail be binding upon Seiler and Seller's successors and assigns.

22.-DISPUTE RESOLUTION: Ta
A. MEDIATION: (1) Seller and Be oy to mediate any dispute or claim arising between them under. this bs

n. (2) Mediation fees, if any, shall be divided equally amon arties involved. (3) If, for
iGorrimences an action without first | BT

ant, before

this mediation agreement are specified
ll be excluded from mediation; a judicial or non-judicial

B. ADDIFIONAL MEDIATION TERMS: The-f
‘éeding to enforce a deed of trust, mortgage of jn allment land sale contract as
orcement of a mechanic's lien; and

foreclosure or other action or
defined in Civil Code § 2985;(ii) an unlawful detainer action; (iii) the filing.or. t of
(iv) any matter that_is-Within the jurisdiction of a probate, small cgi 6 bankrupoy court. The filing of a court
action to enable-thie recording of a notice of pending action, for ors of attachment, receivership, injunction, or other
provisionas- Smedies, shall not constitute a or daha the mediation provisions. — :

ARBITRATION ADVISORY: If Seller and Broker desire ésolve disputes arising between them through arbitration
i ént by attaching and signing an Arbitration Agreement (C.A.R.

Cc.
LL r than court, they can document their agr
“Form ARB). Lo
23, ENTIRE AGREEMENT: All prior discussions, negotiations and agreements between the parties concerning, the subject matter of this
nstitutes the entire contract and a complete and exclusive expression of their

Agreement are superseded by this Agreement, which co

agreement, and may not be contradicted by evidence of any prior agreement or contemporaneous oral agreement. If any provision

of this Agreement is held to be ineffective or invalid, the remaining provisions will nevertheless be given full force and effect. This
Agreement and any supplement, addendum or modification, including any photocopy or facsimile, may be executed in counterparts.

OWNERSHIP, TITLE AND AUTHORITY: Seller warrants that: (i) Seller is the owner of the Property, (ii) no other persons or
th execute this Agreement and:sell the Property. Exceptions

entities have title to the Property; and (iii) Seller has the authority to bo
to ownership, title and authority are as follows:

24,

LEGALLY AUTHORIZED SIGNER: Wherever the signature or initials of the Legally Authorized Signer, identified in the signature
ts, it shall be deemed to be in a representative capacity for the entity

dicated. The Legally Authorized Signer (i) represents that the entity
California and (i) shall deliver to Broker, within
ut not limited to: applicable portion of
corporate resolution,

25.
block below, appear on this Agreement or any related documen

described and not in an individual capacity, unless otherwise in
for which that person is acting already exists and is in good standing to do business in
3 Days after execution of this Agreement, evidence of authority to act in that capacity (such as b
the trust or Certification Of Trust (Probate Code § 18100.5), letters testamentary, court order, power of attomey,

or formation documents of the business entity).

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RESIDENTIAL LISTING AGREEMENT - EXCLUSIVE (RLA PAGE 5 OF 6)
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Property Address: 11364 Estates Court, Riverside, CA_92503

By signing below, Seller acknowledges that Seller has read, understands, received a copy of and agrees to the terms of this

Agreement.
[] ENTITY SELLERS: (Note: If this paragraph is completed, a Representative Capacity Signature Disclosure (C.A.R. Form RCSD) is not
required for the Legaily Authorized Signers designated below.) n
other entity or holds a power of attorney.

(1} One or more Sellers is a trust, corporation, LLC, probate estate, partnership,

(2) This Agreement is being Signed by a Legally Authorized Signer in a representat
See paragraph 25 for additional terms.

(3) The name(s) of the Legaliy Authorized Signer(s) is: ' : .

(4) Ifa trust, identify Seller as trustee(s) of the trust or by simplified trust name (ex. John Doe, co-trustee, Jane Doe, co-trustee or

Doe Revocable Family Trust).
(5) If the entity is a trust or under probate, the following is the full name of the trust or probate case, including case #

ive capacity and not-in an individual capacity.

oD co) v
SELLER SIGNATURE(S)/, _. TY . :
(Signature) By, VY LEG pate: 7. 2-9 fo.
Printed name of SELLER: Arturo Cisneros, Ch 7 Trustee :
C] Printed Name of Legally Authorized Signer: Title, if applicable, -
Address City State "Zip
Email Phone #
(Signature) By, Date:
Printed name of SELLER: _
[_] Printed Name of Legally Authorized Signer: Title, if applicable; ’
Address City State _ Zip
Email Phone #__| |
[_] Additional Signature Addendum attached (C.A.R. Form ASA) .
BROKER SIGNATURE(S): .!
Real Estate Broker (Firm) Winterstone Real Estate and Development DRE .Lic# 02047380
AdqresP25¥92 Rucktield Bivd Ste 107 City Lake Forest State CA__ Zip 92630
By| Botan Thompoon — Tel.(949)981-9120 __ E-mail brlant@winterstonerealestato.co DRE Lic# 01828461 __ Date T/29/eue4
ria if
y PAAR as. Tel. E-mail DRE Lic#___* __Date
listing Broker information is on the attached Additional

{] Two Brokers with different companies are co-listing the Property. Co
Broker Acknowledgement (C.A.R. Form ABA).

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, cy 525 South Virgil Avenue, Los Angeles, Califomtia 90020
RLA REVISED 12/23 (PAGE 6 OF 6)
RESIDENTIAL LISTING AG

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REEMENT ~ EXCLUSIVE (RLA PAGE 6 OF 6)
717 N Harwood Si, Suite 2200, Dallas, TX 75204 swenytwelfcom Lawrence-Eslates
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BES oo ton SELLER'S ADVISORY

ASSOCIATION
“$Y OF REALTORS® (C.A.R. Form SA, Revised 6/23)

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INTRODUCTION: Selling property in California is a process that involves many steps. From start to finish, it could take anywhere
from a few weeks to many months, depending upon the condition of your Property, focal market conditions and other factors. You
have already taken an important first step by listing your Property for sale with a licensed real estate broker. Your broker will help
guide you through the process and may refer you to other professionals, as needed. This advisory addresses many things you may
need to think about and do as you market your Property. Some of these things are requirements imposed upon you, either by law or
by the fisting or sale contract. Others are simply practical matters that may arise during the process. Please read this document

carefully and, if you have any questions, ask your broker or appropriate legal or tax advisor for help.

DISCLOSURES:
A. General Disclosure Duties: You must affirmatively disclose to the buyer, in writing, all known facts that materially affect the value

or desirability of your Property. You must disclose these facts whether or not asked about such matters by the buyer, any broker,
or anyone else. This duty to disclose applies even if the buyer agrees to purchase your Property in its present condition without
requiring you to make any repairs. If you do not know what or how to disclose, you should consult a real estate attorney in
Broker cannot advise you on the legal sufficiency of any disclosures you: make. if the Property you are

California of your choosing.
selling is a residence with one to four units except for certain subdivisions, your broker also has a duty:to conduct a reasonably
all adverse material facts that the

competent and diligent visual inspection of the accessible areas and to disclose to a buyer
inspection reveals. If your broker discovers something that could indicate a problem, your broker must advise the buyer.

Statutory Duties (For one-to-four Residential Units):

(1) You must timely prepare and deliver to the buyer, among other things, a Real Estate Transfer Disclosure Statement ("TDS"),
and a Natural Hazard Disclosure Statement (‘NHD”). You have a legal obligation to fil out the TDS form, in its entirety,
honestly and completely. (Many local entities or organizations have their own supplement to the TDS that you may also be
asked fo complete.) The NHD is a statement indicating whether your Property is in certain designated ficod, fire or
earthquake/seismic hazard zones. Third-party professional companies can help you with this task. If your property is in a high
or very high fire zone, and you have to camplete the TDS, you will also be responsible for disclosing compliance with
defensible space laws and, depending on the Property's age, may also have to disclose if the building itself has been

required to pravide and, in certain cases

hardened to protect it from catching fire.
Depending upon the age and type of construction of your Property, you may also be
"The Homeowners Guide to Earthquake

(2)
you can receive limited legal protection by providing, the buyer with booklets entitled
Safety," “The Commercial Property Owner's Guide to Earthquake Safety," “Protect Your Family From Lead in Your Home”
and “Environmental Hazards: A Guide For Homeowners and Buyers." Some of these booklets may be packaged together for
your convenience. The earthquake guides ask you to answer specific questions about your , Property's structure and
preparedness for an earthquake. If you are required to supply the booklet about lead, you will also.be required to disclose
to the buyer any known lead-based paint and lead-based paint hazards on a separate form, The environmental hazards
guide informs the buyer of common environmental hazards that may be found in properties. —

(3) If you know that your property is: (i) located within one mile of a former military ordnance location: or (ii) in or affected by a
zone or district allowing manufacturing, commercial or airport use, you must disclose this to the buyer. You are also required
to make a good faith effort to obtain and deliver to the buyer a disclosure notice from the appropriate local agency(ies) about
any special tax levied on your Property pursuant to the Mello-Roos Community Facilities Act, the Improvement Bond Act of
4915, and a notice concerning the contractual assessment provided by § 5898.24 of the Streets And Highways Code
(collectively, “Special Tax Disclosures’). Do .

(4) Ifthe TDS, NHD, or lead, fire hardening, defensible space, military ordnance, commercial zone or Special Tax Disclosures
are provided to a buyer after you accept that buyer's offer, the buyer will have 3 days after delivery (or 5 days if mailed) to
terminate the offer, which is why it is extremely important to complete these disclosures as ‘soon as possible. There are
certain exemptions from these statutory requirements; however, if you have actual knowledge of any of these items, you
may still be required to make a disclosure as the items can be considered material facts. oo

Death and Other Disclosures: Many buyers consider death on real property to be a material fact in the purchase of property.

ner of death; however, California Civil Code §

In some situations, it is advisable to disclose that a death occurred or the man |
d more than three years prior to the date the

1710.2 provides that you have no disclosure duty “where the death has occurre
transferee offers to purchase, lease, or rent the real property, or {regardless of the date of occurrence] that an occupant of that
tropic Virus Type il/Lymphadenopathy-Associated Virus." This law

property was afflicted with, or died from, Human T-Lympho
does not “immunize an owner or his or her agent from making an intentional misrepresentation in response to a direct inquiry
from a transferee or a prospective transferee of real property, concerning deaths on the real property."

Condominiums and Other Common Interest Subdivisions: If the Property is a condominium, townhouse, or other property
in a common interest subdivision, you must provide to the buyer copies of the governing documents, the most recent financial
statements distributed, and other documents required by law or contract. If you do not have a current version of these documents,
you can request them from the management of your homeowners association. To avoid delays, you are encouraged to obtain
these docurnents as soon as possible, even if you have nat yet entered into a purchase agreement to sell your Property.

CONTRACT TERMS AND LEGAL REQUIREMENTS:
A. Contract Terms and Conditions: A buyer may request, as part of the contract for the sale of your Property, that you pay for

repairs to the Property and other items. Your decision on whether or not to comply with a buyer's requests may affect your ability

to sell your Property at a specified price. aoe
Withholding Taxes: Under federal and California tax laws, a buyer is required to withhold a portion of the purchase price from
-foreign status and California residency, or some other

your sale proceeds for tax purposes unless you sign an affidavit of non
exemption applies and is documented. SE: na
Seller's Initials fa. , TO

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SA REVISED 6/23 (PAGE 1 OF 2)

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SELLER'S ADVISORY (SA PAGE 1 OF 2)

Lawrence-Estates |

Phone: (949)981-9120 Fak. :
75201 wwwhveli.com

Brian Thampson, Broker, 23792 Rockfield Blvd Sic 101 Lake Forest CA 92630 .
(zipForm Edition) 717 N Harwood St, Suite 2200, Dalles, TX

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Brian Thompson

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Date: 01/27/2024

Property Address: 11364 Estates Court, Riverside, CA 92503
C. Prohibition Against Discrimination: Discriminatory conduct in the sale of real property against individuals belonging to

legally protected classes is a violation of the law.

D. Government Required Repairs, Replacements and Alterations: Under State law, Property owners with limited exceptions, are
required to: (1) install operable smoke alarms and brace water heaters and provide a Buyer with a statement of compliance. Existing
operable smoke alarms, that met compliance standards when installed, do not have to be removed even if not up to current egal
requirements, Smoke alarms that are added or that replace older versions must comply with current law; and (2) install carbon
monoxide detection devices. Some city and county governments may impose additional requirements, including, but not limited to,
installing low-flow toilets and showerheads, gas shut-off valves, tempered glass, and barriers around swimming pools and spas. You
should consult with the appropriate governmental agencies, inspectors, and other professionals to determine which requirements
apply to your Property, the extent to which your Property complies with such requirements, and the costs, if-any, of compliance.

E. EPA's LEAD-BASED PAINT RENOVATION, REPAIR AND PAINTING RULE PROGRAM (RRP): The RRP requires that
contractors and maintenance professionals working in pre-1978 housing, child care facilities, and schools with lead-based

tive work practice standards, The RRP applies to

paint be certified; that their employees be trained; and that they follow protec’
renovation, repair, or painting activities affecting more than six square feet of lead-based paint in:a room or more than 20

square feet of lead-based paint on the exterior. Enforcement of the rule begins October 1, 2010. See the EPA website at

www.epa.gov/lead for more information. .
F, Legal, Tax and Other Implications: Selling your Property may have legal, tax, insurance, title or other implications. You should

consult an appropriate professional for advice on these matters. “
MARKETING CONSIDERATIONS:

4,
A. Pre-Sale Inspections and Considerations: You should consider doing what you can
blems, making cosmetic improvements, and staging.
tO) j i

to prepare your Property for sale, such
Many ‘people are not aware of
sional | i ior to

ale, Pre-sa -a_general property inspection: an_inspecti O . 3 m.
(Structural Pest Control Report) and an i cti i i m hers. By doing this, you then
have an opportunity to make repairs before your Property is sold, which may enhance its marketability. Keep in mind, however,
that any problems revealed by such inspection reports or repairs that have been made, should be disclosed to the buyer (see
“Disclosures” in paragraph 2 above). This is true even if the buyer gets their own inspections covering the same area.
Obtaining inspection reports may also assist you curing contract negotiations with the buyer. For:example, if a Structural Pest
Control Report has both a primary and secondary recommendation for clearance, you may want to specify in the purchase
agreement those recommendations, if any, for which you are going to pay. og
Post-Sale Protections: It is often helpful to provide the buyer with, among other things, a home protection/warranty plan for
d to be pre-existing, that occur after your sale is

B.
the Property. These plans will generally cover problems, not deeme'
completed. In the event something does go wrong after the sale, and it is covered by the plan, the buyer may be able to
resolve the concern by contacting the home protection company. L
C. Safety Precautions: Advertising and marketing your Property for sale, including, but not limited to, holding open houses,
d disseminating photographs, video tapes, and virtual tours of the

placing a keysafe/lockbox, erecting FOR SALE signs, an

premises, may jeopardize your personal safety and that of your Property. You are strongly encouraged to maintain insurance,

and to take any and all possible precautions and safeguards to protect yourself, other occupants, visitors, your Property, and
against injury, theft, loss,

your belongings, including cash, jewelry, drugs, firearms and other valuables located on the Property,.

vandalism, damage, and other harm. : . /
D. Expenses: You are advised that you, not the Broker, are responsible for the fees and costs, if any, to comply with your duties
and obligations to the buyer of your Property. :

§, OTHER ITEMS:

Seller has read and understands this Advisory. By signing below, Seller acknowledges receipt of a capy of this ‘document.

Seller Date
Print Name Arturo Cisneros, Ch7. Trustee Lt
Seller . Of Cee2 = — __ Date i/' 27 [: 2
PrintName _
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SELLER'S ADVISORY (SA PAGE 2 OF 2) 7 ha
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~ CALIFORNIA CONSUMER PRIVACY ACT ADVISORY
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Bn SS Socation DISCLOSURE AND NOTICE
‘FY OF REALTORS® (C.A.R. Form CGPA, Revised 12/22)

or

The California Consumer Privacy Act (commencing with Civil Code § 1798.100) ("CCPA"), as amended by California voters
in 2020, grants to California residents certain rights in their private, personal information ("PI") that is collected by companies
with whom they do business. Under the CCPA, PI is defined broadly to encompass non-public records information that could
reasonably be linked directly or indirectly to you. PI could potentially include photographs of, or sales information about, your

property.
During the process of buying and selling real estate your PI will be collected and likely shared with others, including real
estate licensees, a Multiple Listing Service, real estate internet websites, service providers, lenders, and title and escrow

companies, to name several possibilities. Businesses that are covered by the CCPA are required to grant you various rights

ht to know what PI is collected, the right to know what PI is sold or shared and to whom, the right
© “opt out” or stop the transfer of your PI to others, and the

in your Pl, including the rig
"You may get one or more notices regarding your CCPA

to request that the business correct or delete your PI, the right t

right to limit the use of certain P! which is considered “sensitive.
rights from businesses you interact with in a real estate transaction. However, not all businesses that receive or share your

PI are obligated to comply with the CCPA. Moreover, businesses that are otherwise covered under the CCPA may have a

legal obligation to maintain P!, notwithstanding your instruction to the contrary. For instance, regardless of whether they are
rs and Multiple Listing Services are required to maintain their records for 3

covered by CCPA, under California law, broke
ective business directly.

years. If you wish to exercise your rights under CCPA, where applicable, you should contact the resp

You can obtain more information about the CCPA and your rights under the law from the State of California Department
of Justice (oag.ca.gov/privacy/ecpa). Additionally, the California Privacy Protection Agency is authorized to promulgate

regulations which may further clarify requirements of the CCPA (cppa.ca.gov/regulations/).

Advisory, Disclosure and Notice.

liwe acknowledge receipt of a copy of this Caljfornia Consumer Privacy Act
POD fe : /: oof «
Buyer/Seller/Landlord/Tenant __ Af EF ee pate (, PY Hf

Arturo Cisneros, Ch 7 Trustee

Date

Buyer/Seller/Landlord/Tenant

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CALIFORNIA CONSUMER PRIVACY ACT ADVISORY (CCPA PAGE 1 OF 1) |

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Brian Thompiun, Broker, 23792 Rockfield Blvd Ste 101 Lake Forest CA 92630 | Phorie: (949)981-9120 Fax:
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Brian Thompson
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“A CALIFORNIA
TEXT OVERFLOW ADDENDUM No. 1 |

a ASSOCIATION
> OF REALTORS® (C.A.R. Form TOA, Revised 6/23)

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This addendum is given in connection with the property known as 11364 Estates Court, Riverside, CA_92503

(‘Property’),
Arturo Cisneros, Ch 7 Trustee __ is referred to as ("Selier’)
Winterstone Real Estate and Development is referred to as ("Brokerage").

in which
and

1) RLA, paragraph 19, ADDITIONAL TERMS:

1) Seller is a United States Bankruptcy Trustee and all sales/commissions are subject to the rules and regulations of the
Bankruptcy Court and require Bankruptcy Court approval (Debtor: Lawrence Case No. 6:23-bk-15163-WJ). 2. Section 22 A, B
and C do not apply, any/all disputes will be handled by the Bankruptcy Court. 3, Broker may engage a "Co-Broker”. Any
fees/commissions due the Co-Broker will be paid by the Broker, after escrow closes and will come from Broker's portion of
approved commission (no additional Fees/commission to be paid by Seller). 4, Should Broker represent both the Seller and
Buyer total commission will be reduced fram 5% to 4% of the total purchase price. : :

ph(s) referred to in the

The foregoing terms and conditions are hereby Incorporated in and made a part of the paragra
tis aftached. The undersigned acknowledge receipt of a copy of this TOA.

document to eg BS . ~\
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Seller a
Arthro Cisneros, Ch 7 Trustee Po,
Date

Seller

Brokerage DocuSlaned by: Winterstone Real Estate and Development —_—
Date

By Burien Thompson

1/29/2024

Brian Thompson Nem 98097 0A7DCCH426...
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TOA REVISED 6/23 (PAGE 1 OF 1)
TEXT OVERFLOW ADDENDUM (TOA PAGE 4 OF 1)

Brian Thompson, Broker, 23792 Rockfield Dvd Ste 101 Lake Forest CA 92650 Phone: (949)981-9120 Fax:
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Lawrence- Estates |

Brian Thompsou

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Additional Listing Terms Broker's Authorization and Right to Sell Form
[11364 Estates Court, Riverside, CA 92503] :

1. Broker’s employment is subject to the Bankruptcy Code’s notice requirements.

2. Broker warrants that neither it nor any of its salesman or employees are relatives of

any judge of the Court making the appointment or approving the employment nor connected with
any judge of the Court making the appointment or approving the employment as to render such

appointment or employment improper.

3. The United States Bankruptcy Court, Central District of California, Riverside
Division (“Bankruptcy Court”), retains full jurisdiction over all matters now pending or that may
arise at any time in the future concerning any aspects of this transaction.

4. If the Seller/Trustee is unable to complete sale because of a defect in title, because
the liens and encumbrances exceed the amount known to the Seller/Trustee, is Seller/Trustee is
divested of title by the Bankruptcy Court, if the Bankruptcy Court declines to authorize the sale of
the Property, or for any other reason whatsoever the Seller/Trustee is unable to complete the sale,

Broker shall have no right to damages.

5. Seller/Trustee has agreed to compensation of Broker as follows: (a) 5% of the gross
sales price; and (b) 4% if Broker represents both Buyer and Seller/Trustee. Broker understands
that notwithstanding such terms and conditions of compensation set forth in this listing agreement,
the Court may allow compensation different from the compensation provided pursuant to 11

U.S.C. § 328(a).

6. Seller is a fiduciary trustee in bankruptcy, acting in the course of administration of
the bankruptcy estate of In re Shamicka Lawrence., Bankruptcy Court case ‘rhumber 6:23-bk-
15163-WJ, now pending in the Bankruptcy Court before a United States Bankruptcy Court Judge,
and is selling the Property pursuant to the provisions of the United States Bankruptcy Code and
the Bankruptcy Court orders issued thereunder. Seller/Trustee is selling the Property in an “as is”
condition, and Seller/Trustee makes no warranties or representations whatsoever with regard to
the Property, except as expressly set forth pursuant to the terms of a sale agreement; the sale is
under the auspices and full jurisdiction of the United States Federal Court system, including, but

not limited to, the Bankruptcy Court.

7. Broker acknowledges and agrees that any disputes between Seller/Trustee and
Broker shall be resolved only by the Bankruptcy Court in the case of Jn re Shamicka Lawrence,

Bankruptcy Court case number 6:23-bk-15163-WJ.

8. Broker acknowledges and agrees that Trustee/Seller is engaging Broker solely in
his capacity as Chapter 7 Trustee of the bankruptcy estate of Shamicka Lawrence in the case of In
re Shamicka Lawrence., Bankruptcy Court case number 6:23-bk-15163-WJ. Therefore, nothing
contained herein shall in any way impute liability to Trustee, personally or as a member of any
professional organization or anyone acting on his behalf, including but not limited to Malcolm ¢
Cisneros, A Law Corporation, and any potential claim for damages of any kind is expressly limited
to the bankruptcy estate of Shamicka Lawrence in the case of Jn re Shamicka Lawrence.

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Addendum to Listing Agreement
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Date: J , 2024 Cf 3 o :

A. Cisneros, solely in his capacity as Trustee for the
Bankruptcy Estate of Shamicka Lawrence., Bankruptcy
Court case number 6:23-bk-15163-WJ

Date: January 3 2024 DocuSigned by:

1/29/2024 Brian Thompoon

Broker: Winterstone Real Estate and Development

By: Brian Thompson
Its: Principal

Addendum to Listing Agreement
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EXHIBIT “2”
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Experience:
2020-Present

2015-2020

2012-2015

2006-2012

Education

BRIAN THOMPSON
Real Estate Broker, BRE# 01828461
23792 Rockfield Blvd. STE 101, Lake Forest, CA 92630
Phone# 949-981-9120
briant@winterstonerealestate.com
brianthompsonre@gmail.com

Winterstone Real Estate and Development
Principle, Broker of Record

GlassRatner

Mr. Thompson has been in the Real Estate industry since 2006 and a
California Licensed Real Estate Broker since 2010. During his tenure at
GlassRatner he has overseen all aspects of Bankruptcy sales from valuation,
inspection, reporting, escrow and closing. He.also has been involved in
Receivership activities including valuation, asset management, filings and
oversight. His experience in traditional commercial transactions includes
multi-family, office, industrial, and specialty properties located throughout

the United States.

American Spectrum Management Group, Inc.

While at American Spectrum Management Group, Inc. Mr. Thompson

marketed and sold numerous commercial and residential properties which
were in bankruptcy and receivership. He demonstrated a thorough and
comprehensive knowledge of the bankruptcy process from beginning to
close. Mr. Thompson was responsible for preparing valuations, court
documents, listing agreements and completing physical inspection of estate
assets. He communicated and interacted with all parties involved including
Trustees, buyers, tenants, owners and debtors as well as handling all aspects

of the transactions with escrow and title.

Thompson Real Estate Group, Inc.

Responsibilities included market research on prospective investment
opportunities, listings and potential partners. He also prepared letters of
intent, investments proposals, property feasibility reports and pro-formas,
Was involved in complex joint venture transactions which include both

institutional and private equity investors.

California State University, Chico (2006)
Bachelor of Science Degree in Business Administration

EXHIBIT "2"
Case 6:23-BK15163-W9 BRC neuen Wade fies OF/80/24 12:84:98 Bese

PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

3403 Tenth Street, Suite 714, Riverside, CA 92501

A true and correct copy of the foregoing document entitled (specify): TRUSTEE’S APPLICA TION TO EMPLOY REAL
ESTATE BROKER; DECLARATION OF BRIAN THOMPSON IN SUPPORT THEREOF will be served or was served (a)
on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner indicated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 30, 2024, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated

below:

amctrustee@mclaw.org, acisneros@iq7technology.com;ecf.alert+Cisneros@titlexi.com
alan.forsley@fipllp.com, awf@fkllawfirm.com,awf@fl-lawyers.net,addy@fiplip.com

Interested Party: Eric D Goldberg _ eric.goldberg @dlapiper.com, eric-goldberg-1103 @ecf.pacerpro.com
Trustee’s Counsel: D Edward Hays ehays@marshackhays.com, ehays@ecf.courtdrive.com;
alinares@ecf.courtdrive.com; cmendoza@marshackhays.com; cmendoza@ecf.courtdrive.com: :

Debtor’s Counsel: Marc A Lieberman marc.lieberman@fiplip.com, safa.saleem@flpllp.com,addy@flplip.com
Trustee’s Counsel: Tinho Mang tmang@marshackhays.com, tmang@ecf.courtdrive.com; alinares@ecf.courtdrive.com,

Trustee: Arturo Cisneros (TR)
Interested Party: Alan W Forsley

cmendoza@ecf.courtdrive.com
OUST: United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov

[-] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) January 30, 2024, | served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a

sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

DEBTOR: Shamicka Lawrence, 11364 Estates Court, Riverside, CA 92503 oe
BROKER: Brian Thompson, Winterstone Real Estate and Development, 23792 Rockfield Bivd., Ste. 101, Lake Forest,
CA 92680

[-] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __, | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

[-] Service information continued on attached page

| declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

January 30, 2024 Mayra Johnson /s/ Mayra Johnson:
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

F 9013-3.1.PROOF.SERVICE

June 2072
Case 6:23-bk-15163-WJ Doc 48 Filed 02/27/24 Entered 02/27/24 12:31:05 Desc
Main Document Page 32 of 39

EXHIBIT “2”
Case B2:HICISHERWS Bag aA. Fed pelagied. Erle e2iaélee 12340) Bese

A. CISNEROS, Trustee
3403 Tenth Street, Suite 714
Riverside, California 92501
Phone: (951) 682-9705

Fax: (951) 252-1032

Email: arturo@mclaw.org

Chapter 7 Trustee
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
RIVERSIDE DIVISION
In re: Case No. 6:23-bk-15163-WJ
SHAMICKA LAWRENCE, Chapter 7

TRUSTEE’S NOTICE OF INTENT TO
EMPLOY REAL ESTATE BROKER

Debtor.
[11364 Estates Court, Riverside, CA 92503]

[No Hearing Required Pursuant to Local Bankrupt:
Rules 2014-1 (b)(1)]

TO ALL CREDITORS AND ALL PARTIES IN INTEREST:

PLEASE TAKE NOTICE that A. Cisneros, the duly appointed and qualified Chapter 7

Trustee (“Applicant” or “Trustee”), for the bankruptcy estate of Shamicka Lawrence (“Estate’’),
pursuant to 11 U.S.C. §§ 327, and subject to 11 U.S.C. § 328(a), will file concurrently herewith an
application for an order authorizing him to employ Brian Thompson (“Broker”) of Winterstone Real

Estate and Development as a real estate broker. In compliance with Local Bankruptcy Rule 2014-

1(b)(3), Applicant hereby provides the following information regarding the Application to Employ

(“Application”):

Notice of Trustee’s Intent to Employ

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I. THE IDENTIFICATION OF THE PROFESSIONAL, PURPOSE, AND SCOPE OF

EMPLOYMENT.
This case was commenced on November 3, 2023, by the filing of a Voluntary Petition under

Chapter 7 of the Bankruptcy Code. Thereafter, Applicant was appointed Chapter 7 Trustee.
Shamicka Lawrence (“Debtor”) identified ownership of the real property located at 11364

Estates Court, Riverside, CA 92503 (“Property”) in her schedules. Based on Applicant’s consultation
with a real estate professional and the condition of the Property, the Applicant has agreed to list the
Property at $1,900,000. Applicant has determined that it will be necessary to employ Broker to market
and sell the Property in order to pay claims of creditors and expenses of administration.

Il. ARRANGEMENT FOR COMPENSATION.

Broker has not received, nor will he receive, any retainer from Applicant or the Estate. Broker

will accept, as compensation, such commission from the sale of the Property pursuant to the Listing
Agreement and subject to Court approval. The Listing Agreement concerning the Property provides for
a reduced sales commission of 5% and 4% if Broker represents both the seller and buyer.

PROCEDURE FOR OBTAINING A COPY OF THE APPLICATION.

A copy of the Application is available upon written request by contacting Mayra Johnson,

Il.

Trustee Administrator, 3403 Tenth Street, Suite 714, Riverside, CA 92501, telephone number: (951)

682-9705, facsimile: (951) 682-9707, e-mail: mjohnson@mclaw.org
PROCEDURE FOR OBJECTING AND/OR RESPONDING TO THE APPLICATION

IV.

TO EMPLOY. os
PLEASE TAKE FURTHER NOTICE that if you do not oppose the proposed employment,

you need not take further action. Pursuant to Local Bankruptcy Rule 2014-1(b)(3)(B), any opposition to
the Application and request for hearing must be filed with the Court in the form required by Local
Bankruptcy Rule 9013-1(f)(1) and served upon (1) counsel for Trustee, at the email address of Tinho

Mang, Esq. tmang@marshackhays.com; (2) A. Cisneros, chapter 7 trustee at the address indicated in the

upper-left hand corner of the first page of this document; and (3) the Office of the United States Trustee

MH
Hf

Notice of Trustee’s Intent to Employ

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within 14 days from the date of the service of this notice. Failure to timely file and serve an opposition,

response or request for hearing may be deemed consent to the relief sought in the Application.

Respectfully Requested,

. . eC
A-CISNEROS
Chapter 7 Trustee for the Estate of Shamicka Lawrence

DATED: January P| 2024

Notice of Trustee’s Intent to Employ

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

3403 Tenth Street, Suite 714, Riverside, CA 92501

A true and correct copy of the foregoing document entitled (specify): TRUSTEE’S NOTICE OF INTENT TO EMPLOY
REAL ESTATE BROKER will be served or was served (a) on the judge in chambers in the form and manner required by

LBR 5005-2(d); and (b) in the manner indicated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On January
30, 2024, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

amctrustee@mclaw.org, acisneros@iq7technology.com;ecf.alert+Cisneros@titlexi.com
alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-lawyers.net,addy@flpllp.com

Interested Party: Eric D Goldberg _ eric.goldberg@dlapiper.com, eric-goldberg-1103 @ecf.pacerpro.com
Trustee’s Counsel: D Edward Hays ehays@marshackhays.com, ehays@ecf.courtdrive.com,
alinares@ecf.courtdrive.com; cnendoza@marshackhays.com; cmendoza@ecf.courtdrive.com

Debtor’s Counsel: Marc A Lieberman marc.lieberman@fipllp.com, safa.saleem@flpllp.com,addy@flpllp.com
Trustee’s Counsel: Tinho Mang tmang@marshackhays.com, tmang@ecf.courtdrive.com; alinares@ecf.courtdrive.com;

cmendoza@ecf.courtdrive.com
OUST: United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov

Trustee: Arturo Cisneros (TR)
Interested Party: Alan W Forsley

[-] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) January 30, 2024, | served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a

sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

DEBTOR: Shamicka Lawrence, 11364 Estates Court, Riverside, CA 92503
BROKER: Brian Thompson, Winterstone Real Estate and Development, 23792 Rockfield Blvd., Ste. 101, Lake Forest,

CA 92680
X] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _- , | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
methog), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

L] Service information continued on attached page

| declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

/s/ Mayra Johnson |

January 30, 2024 Mayra Johnson
Signature

Date Printed Name

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central
District of California. OS

June 2012 F 901 3-3.1.PROOF.SERVICE

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SERVICE LIST (CONTINUED FROM PREVIOUS PAGE)

Re: Trustee’s Notice of Intent to Employ Real Estate Broker

Service Via U.S. Mail CONT.:

ADT - Attn. Bankruptcy
1501 W. Yamato Rd.
Boca Raton, FL 33431-4438

American Express

c/o Becket and Lee

Po Box 3001

Malvern, PA 19355-0701

Aqua Clear, Inc.
1235 Flyn Rd. #408
Camarillo, CA 93012-6214

Bank of America, N.A.
PO Box 15168
Wilmington, DE 19850-5168

(p)CAPITAL ONE
PO BOX 30285
SALT LAKE CITY UT 84130-

0285

(p)JPMORGAN CHASE BANK
NA

BANKRUPTCY MAIL INTAKE
TEAM

700 KANSAS LANE FLOOR 012
MONROE LA 71203-4774

(p)OFFICE OF FINANCE CITY
OF LOS ANGELES
200 N SPRING ST RM 101

CITY HALL
LOS ANGELES CA 90012-3224

County of Los Angeles

Dept. of Treasurer & Tax
Collector

PO Box 514818

Los Angeles, CA 90051-4818

Glen March
1 Century Dr., #32A
Los Angeles, CA 90067-3413

Lumen/Cenury Link
PO Box 52187
Phoenix, AZ 85072-2187

Navy Federal! Credit Union
Attn: Bankruptcy

Po Box 3000

Merrifield, VA 22119-3000

Regus

11801 Pierce Street

Suite 200

Riverside, CA 92505-4400

Small Business
Administration

409 3rd Street SW
Washington, DC 20024-3212

Southern Cal Gas

PO Box C
Monterey Park, CA 91754-

0932

(p)THE DARVISH FIRM APC
12424 WILSHIRE BOULEVARD

SUITE 1115
LOS ANGELES CA 90025-1071

RESTS Han areniceeanacencereectii truvo nocrmeetneeancen ae
Case 6:23-bk-15163-WJ Doc 48 Filed 02/27/24 Entered 02/27/24 12:31:05 Desc
Main Document __ Page 38 of 39

PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

3403 Tenth Street, Suite 714, Riverside, CA 92501

A true and correct copy of the foregoing document entitled: DECLARATION THAT NO PARTY REQUESTED A
HEARING ON MOTION [LBR 9013-1(0)(3)] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d): and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the documeni. On (date)
02/27/2024 _, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) , | served the following persons and/or entities at the last known addresses in this bankruptcy

case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

C_] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 02/27/2024 _, | served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is

filed.

Judge (Via Personal Delivery): Honorable Wayne Johnson, United States Bankruptcy Court, 3420 Twelfth Street,
Courtroom 304, Riverside, CA 92501

|] Service information continued on attached page

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

02/27/2024 Mayra Johnson /s/ Mayra Johnson
Date Printed Name Signature

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016 Page 3 F 901 3-1.2.NO.REQUEST.HEARING.DEC
Case 6:23-bk-15163-WJ Doc 48 Filed 02/27/24 Entered 02/27/24 12:31:05 Desc
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SERVICE LIST (CONTINUED FROM PREVIOUS PAGE)
Re: Declaration That No Party Requested a Hearing on Motion

Service Via Notice of Electronic Filing

Trustee: Arturo Cisneros (TR) amctrustee@mclaw.org, acisneros@iq7technology.com;
ecf.alert+Cisneros@titlexi.com

Interested Party: Alan W Forsley alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-
lawyers.net,addy@fipllp.com

Interested Party: Thomas MGeher tmg@jmbm.com, bt@jmbm.com;tmg@ecf.courtdrive.com
interested Party: Eric D Goldberg _eric.goldberg@dlapiper.com, eric-goldberg-1103 @ecf.pacerpro.com
Trustee’s Counsel: D Edward Hays ehays@marshackhays.com, ehays@ecf.courtdrive.com;
alinares@ecf.courtdrive.com; cmendoza@marshackhays.com; cmendoza@ecf.courtdrive.com
Debtor’s Counsel: Marc A Lieberman marc.lieberman@flpllp.com, safa.saleem@fipllp.com,
addy@flplip.com

Trustee’s Counsel: Tinho Mang tmang@marshackhays.com, tmang@ecf.courtdrive.com;
alinares@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com

OUST: United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
